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                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE EASTERN DISTRICT OF NEW YORK


D’ONOFRIO GENERAL CONTRACTORS CORP., ON
BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
SITUATED,

      Plaintiff,

              v.
                                            Case No. 1:24-cv-783
SIKA AG; SIKA CORPORATION; CHRYSO, INC.;
GCP APPLIED TECHNOLOGIES, INC.;
COMPAGNIE DE SAINT-GOBAIN S.A.; SAINT-      Jury Trial Demanded
GOBAIN NORTH AMERICA; MASTER BUILDERS
SOLUTIONS ADMIXTURES U.S., LLC; MASTER
BUILDERS SOLUTIONS DEUTSCHLAND GMBH;
CINVEN LTD.; CINVEN, INC.; THE EUCLID
CHEMICAL COMPANY; RPM INTERNATIONAL
INC.; AND DOES 1-10,

                    Defendants.

                            CLASS ACTION COMPLAINT
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         Plaintiff D’Onofrio General Contractors Corp., (“Plaintiff”), individually and on behalf of

all others similarly situated (the “Class,” as defined below), upon personal knowledge as to the

facts pertaining to itself, and upon information and belief as to all other matters, and based on the

investigation of counsel, brings this class action for damages, injunctive relief, and other relief

pursuant to the federal antitrust laws and demands a trial by jury on all matters so triable.

I.       NATURE OF THE ACTION

         1.        This lawsuit arises from Defendants’ unlawful agreement to fix the prices for: (a)

concrete admixtures, (b) cement additives, (c) admixtures for mortar, and (d) products containing

or bundled with any of the foregoing (collectively, “CCAs”). CCAs, which can be either in liquid

or powdered form, are added to concrete, cement, and mortar before or during the aggregate’s

mixing with water in order to give the finished product certain qualities, such as reducing the

amount of water needed for the aggregate to set, reducing (or increasing) set time, reducing

shrinkage, stabilizing or preventing cracking, and inhibiting corrosion.1 Globally, the market for

CCAs reached more than $18 billion in 20202 and $27 billion in 2022.3

         2.        Defendants—Sika AG and Sika Corporation (collectively, “Sika”); Chryso, Inc.

(“Chryso”) and GCP Applied Technologies, Inc. (“GCP”), under the ownership and control of

Compagnie de Saint-Gobain S.A. and Saint-Gobain North America (“Saint-Gobain,” and with

Chryso and GCP, collectively “Saint-Gobain Group”); Master Builders Solutions Admixtures

U.S., LLC, (“MBSA”), under the ownership and control of Master Builders Solutions Deutschland


1        The Constructor, 15 Types of Admixtures Used in Concrete, https://theconstructor.org/concrete/types-concrete-
admixtures/5558/#:~:text=15.%20Coloring%20Admixtures%20%20%20Admixture%20%20,%20%20Green%20%203%20more
%20rows%20.
2         Fortune      Business       Insights,    Concrete      Admixtures         Market      Size       (Jan.      2020),
https://www.fortunebusinessinsights.com/concrete-admixtures-market-102832.
3 Global News Wire, Concrete Admixture Market is Projected to reach US $27.5 Billion with a Share of 36.1%, by 2032 (July 13,

2022), https://www.globenewswire.com/en/news-release/2022/07/13/2479255/0/en/Concrete-Admixture-Market-is-projected-to-
reach-US-27-4-Billion-with-a-Share-of-36-1-by-2032-Future-Market-Insights-Inc.html.



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GmbH (“MBSD”), Cinven Ltd., and Cinven, Inc. (“Cinven,” collectively “Master Builders

Group”); and The Euclid Chemical Company (“Euclid”), under the ownership and control of RPM

International Inc. (“RPM,” and with Euclid, “Euclid Group”)—manufacture and sell the vast

majority of CCAs sold in the United States.

          3.     Defendants’ unlawful agreement caused direct purchasers of CCAs in the United

States and its territories, including Plaintiff and the Class, to pay supra-competitive prices for

CCAs sold by Defendants in the United States and its territories from the period beginning no later

than May 11, 2018 and running through the date on which any Class herein is certified (the “Class

Period”), in violation of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3). Defendants’

scheme included both price increases and the imposition of surcharges on CCAs sold in the United

States.

          4.     Plaintiff and the Class first became aware of Defendants’ unlawful scheme on

October 17, 2023, when the European Commission (“EC”) announced that it had, together with

the United Kingdom’s Competition and Markets Authority (“CMA”) and the Turkish Competition

Authority (“TCA”), carried out surprise antitrust inspections (also known as “dawn raids”) of

“companies active in the construction chemicals sector in several Member States.”4

          5.     That same day, the CMA released a statement that it had “launched an investigation

. . . into suspected anti-competitive conduct relating to the supply of chemical admixtures and

additives for use in concrete, cement, mortars and related construction products in the UK” and

that its “investigation concern[ed] a suspected infringement or infringements of Chapter I [of the

Competition Act of 1998] involving a number of suppliers of these chemicals and some industry




4       Press Release, European Comm’n, Commission Carries Out Unannounced Antitrust Inspections in the Construction
Chemicals Sector (Oct. 17, 2023), https://ec.europa.eu/commission/presscorner/detail/en/ip_23_5061.



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bodies.”5 According to the CMA, Chapter I of the Competition Act of 1998 “prohibits agreements

and concerted practices between undertakings ([e.g.,] businesses) and decisions by associations of

undertakings ([e.g.,] trade associations) which have as their object or effect the prevention,

restriction or distortion of competition within the UK and which may affect trade within the UK.”6

Thus, Chapter I of the Competition Act of 1998 is the UK’s equivalent to Section 1 of the Sherman

Act.

          6.       Both the EC and CMA have confirmed that they are working with the United States

Department of Justice’s Antitrust Division (“DOJ”) in connection with these dawn raids, thus

indicating that the anticompetitive conduct in question also extended into this country.7

          7.       Shortly after these global antitrust enforcers announced their dawn raids, it was

revealed that Sika, Saint-Gobain Group, and Master Builders Group are targets in this global

antitrust investigation.8 It was also revealed that Sika and Saint-Gobain Group are cooperating with

these global antitrust authorities,9 and that at least Sika had been in contact with the DOJ.10

          8.       The origins of Defendants’ conspiracy can be traced to 2014, when Compagnie de




5        Gov.UK, Suspected Anti-Competitive Conduct in Relation to the Supply of Chemicals for Use in the Construction
Industry (Oct. 17, 2023), https://www.gov.uk/cma-cases/suspected-anti-competitive-conduct-in-relation-to-the-supply-of-
chemicals-for-use-in-the-construction-industry.
6         CMA, Guidance on the Application of the Chapter Prohibition in the Competition Act 1998 to Horizontal Agreements 6
(2023).
7         Press Release, European Commission, Commission Carries Out Unannounced Antitrust Inspections in the Construction
Chemicals Sector (Oct. 17, 2023), https://ec.europa.eu/commission/presscorner/detail/en/ip_23_5061; Construction News,
Competition Regulators Probe Concrete Additive Firms (Oct. 19, 2023), https://www.constructionnews.co.uk/legal/competition-
regulators-probe-concrete-additive-firms-19-10-2023/.
8          GCR, Sika, Saint-Gobain and Cinven-owned Business Targeted in Cross-Border Cartel Probe (Oct. 18, 2023),
https://globalcompetitionreview.com/article/update-sika-saint-gobain-and-cinven-owned-business-targeted-in-cross-border-
cartel-probe.
9         Construction News, Competition Regulators Probe Concrete Additive Firms (Oct.                        19,   2023),
https://www.constructionnews.co.uk/legal/competition-regulators-probe-concrete-additive-firms-19-10-2023/.
10         ICIS, EU, UK, Turkey Authorities Launch Construction Chems Antitrust Investigation (Oct. 18, 2023),
https://www.icis.com/explore/resources/news/2023/10/18/10935016/eu-uk-turkey-authorities-launch-construction-chems-
antitrust-investigation/.




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Saint-Gobain S.A. launched a hostile takeover of Sika AG.11 Over the next four years, Compagnie

de Saint-Gobain S.A. attempted to consolidate its control of Sika AG, ultimately acquiring nearly

a quarter of Sika AG’s stock; however, on May 11, 2018, Compagnie de Saint-Gobain S.A.

abandoned its takeover attempt, and agreed to reduce its stake to more than ten percent, which it

agreed to hold for at least two years.12 Before selling its Sika AG stock in 2020, Compagnie de

Saint-Gobain S.A. was the largest shareholder in Sika AG.13

         9.        The alleged conspiracy was born from this attempted merger. At the time it was

launched, the market was already highly susceptible to collusion: the supply side was concentrated

with high barriers to entry; the demand side was unconcentrated; and the demand for CCAs was

inelastic. Sika AG and Compagnie de Saint-Gobain S.A., with their shared financial interest

through Compagnie de Saint-Gobain S.A.’s significant financial stake in Sika AG, leveraged these

susceptibilities and agreed to cease competing with one another in order to better ensure they both

obtained higher prices for CCAs. This anticompetitive agreement, however, faced a problem: there

were a handful of other, competing manufacturers of CCAs. Because these competitors were a

threat to Compagnie de Saint-Gobain S.A. and Sika AG’s agreement to charge higher prices for

CCAs, the co-conspirators agreed to a joint, worldwide buying spree, ultimately purchasing no

fewer than a half-dozen of their shared competitors between 2017 and the present. This agreement

was aided and abetted at all times by Cinven, with Euclid Group thereafter joining the conspiracy.



11     Saint-Gobain Remains Committed to Deal to Take Over Sika, https://www.reuters.com/article/us-sika-cie-saint-gobain-
idUSKBN1300II (last updated Nov. 6, 2016).
12        Market      Watch,   Saint-Gobain,    Sika and     Burkard     Family    End      Dispute    (May     11,   2018),
https://www.marketwatch.com/story/saint-gobain-sika-and-burkard-family-end-dispute-2018-05-11; Saint-Gobain’s U.S. Deal
will Cement its Sika Envy, https://www.reuters.com/breakingviews/saint-gobains-us-deal-will-cement-its-sika-envy-2021-12-06/
(last updated Dec. 6, 2021).
13        VY Tyndall         Global Select Fund Commentary, 5 (Oct.                2019), https://www.tyndallim.co.uk/wp-
content/uploads/2019/11/1910-VT-Tyndall-Global-Select-Fund-Commentary.pdf; Saint-Gobain Sells Sika Stake, Formally
Ending Bitter Takeover Battle, https://www.reuters.com/article/us-sika-m-a-saintgobain/saint-gobain-sells-sika-stake-formally-
ending-bitter-takeover-battle-idUSKBN2331J1 (last updated May 27, 2020).



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As Sika told investors in its 2022 Annual Report, it had “consolidate[d] fragmented [market

segments]” to strengthen its core business.14

         10.       Defendants’ agreement became increasingly effective as they consolidated their

market power, and prices for CCAs continued to rise. The onset of Covid in 2021, however,

supercharged Defendants’ conspiracy. With no meaningful check on their pricing power,

Defendants agreed to institute (a) price increases on the CCAs, and (b) surcharges on top of those

price increases, including shipping surcharges and raw material surcharges.

         11.       Defendants have been secure in their knowledge that their competitors—the other

Defendants—will not undercut them on price. For example, one industry analyst, in discussing at

least the third price increase made by Sika in 2021,15 stated, “They are not losing sales when

increasing prices because competitors will also not sell at lower prices.”16 Similarly, Frank

Sullivan, the Chairman, President, and CEO of RPM, admitted on an earnings call in July of 2023

that Euclid Group was charging too much for its CCAs but that the company (trusting that it would

not be undercut on price) “held our pricing and held our discipline” and, as a result, reaped

substantial supracompetitive profits on its CCAs.17

         12.       Moreover, Defendants’ claimed justification for these price hikes and surcharges is

pretextual. The spike in raw material and shipping costs was either non-existent or short lived. In



14        Sika,   Annual    Report     2022, 13, https://www.sika.com/dms/getdocument.get/55534c2a-608c-4ec2-bc9f-
df21d5ada6bd/glo-ar-2022-sika-business-
year.pdf?_gl=1*t666q1*_ga*NTI2NDMwNTU0LjE2OTc2MzU0ODg.*_ga_K04G1QB2XC*MTY5NzgyODQ5Ni43LjEuMTY
5NzgzMTU4OC4wLjAuMA.
15         Sika Raises Prices to Counter Jump in Raw Material Costs, https://www.reuters.com/article/sika-results-materials/sika-
raises-prices-to-counter-jump-in-raw-material-costs-idUSZ8N1UN01Y (last updated Feb. 22, 2019) (noting price increases in
January 2021 and March 2021).
16        Update 2-Chemicals Group Sika Tackles Higher Costs by Raising Prices, https://www.reuters.com/article/sika-
results/update-2-chemicals-group-sika-tackles-higher-costs-by-raising-prices-idUSL4N2RI0XW (last updated Oct. 21, 2021).
17        Q4 2023 RPM International Inc. Earnings Call Transcript (July 26, 2023), https://www.rpminc.com/media/4837/rpm-q4-
23-transcript.pdf .



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comparison, Defendants’ price increases, including surcharges, on CCAs have been both extreme

and persistent.

             13.      Defendants’ conspiracy was facilitated through their shared membership in

numerous trade associations. Specifically, some or all of the Defendants (or their affiliates) are

members of numerous CCA trade associations around the World, providing ample opportunity to

meet and conspire. These shared CCA trade associations include the Belgian CCA trade

association, Federatie van Invoerders en Producenten van Hulpstoffen voor betons en mortels

(“FIPAH”);18 the French CCA trade association, Syndicat National des Adjuvants pour Bétons et

Mortiers (“SYNAD”);19 the Italian CCA trade association, Associazione Italiana Produttori

Additivi e Prodotti per Cemento e Calcestruzzo (“ASSIAD”);20 the Norwegian Committee for

Concrete Admixtures (“NCCA”);21 the Spanish CCA trade association, Asociación Nacional de

Fabricantes de Aditivos para Hormigón y Mortero (“ANFAH”);22 the Swedish Association for

Concrete Admixtures (“SACA”);23 the Turkish CCA trade association, Beton ve Harç Kimyasal

Katk1 Maddeleri Oreticileri Dernegi (“KUB”);24 and the UK CCA trade association, Cement

Admixtures Association (“CAA”).25 Notably, each of these CCA trade associations is also a

member of an umbrella trade association: European Federation of Concrete Admixtures

Association (“EFCA”). The EFCA describes itself as “a partnership of 13 National Admixture



18           FIPAH, Members, https://www.fipah.be/fr/membres/.
19           Synad,   https://www.synad.fr/synad-syndicat-des-fabricants-d-adjuvants-beton-colorants-fibres.
20           ASSIAD,                  The             Structure,            https://www.assiad.it/LAssociazione/La-
struttura?     cf_chl_rt_tk=u7pLurzdoe4b4m7JWGOfds7HNRCC9lGE05zRTEktZi4-1700142619-0-gaNycGzNChA.
21           NCAA, https://ncca.no/.
22           ANFAH, Associate Members, https://anfah.org/anfah/miembros-de-anfah/.
23           SACA, Member Companies, https://www.saca.se/medlemmar.html.
24           KUB, About Us, https://kub.org.tr/hakkimizda/.
25           Cement Admixtures Association, Members, https://www.admixtures.org.uk/members



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Associations, formed in 1984 in order to represent the interests of the industry. EFCA’s total

membership provides in excess of 80% of admixture sales within Europe and represents all the

major admixture manufacturers.”26

       14.      And in the United States, Defendants are “super sponsors” of the National Ready-

Mix Concrete Association (“NMRCA”), a trade association founded in 1930, long before most of

the construction chemicals at issue came into existence. While many of NMRCA’s members are

buyers who bought CCAs directly from Defendants and thus were harmed by Defendants’

anticompetitive conduct, the NMRCA, even if not a co-conspirator, provided Defendants with yet

a further opportunity to meet and collude among themselves under the guise of participation in a

legitimate trade association. The NMRCA also provided Defendants with benchmarking analyses

that Defendants could misuse to further their efforts to fix CCA prices.

       15.      In sum, beginning no later than May 11, 2018, Defendants entered into an

agreement to consolidate their control over the global manufacture of CCAs and charge

supracompetitive prices for CCAs through price increases and the imposition of surcharges. This

agreement, which was effectuated through Defendants’ shared membership in numerous trade

associations, resulted in Plaintiff and members of the Class paying supra-competitive prices for

CCAs in the United States and its territories. Through this action, Plaintiff, on behalf of itself and

members of the Class, seeks to recover the overcharges they paid to Defendants.

II.    JURISDICTION AND VENUE

       16.      Plaintiff brings this class action lawsuit pursuant to Sections 4 and 16 of the Clayton

Act (15 U.S.C. §§ 15 and 26), to recover damages suffered by the Class and the costs of suit,

including reasonable attorneys’ fees; to enjoin Defendants’ anticompetitive conduct; and for such


26     EFCA, About Us, https://www.efca.info/about-us/.



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other relief as is afforded under the antitrust laws of the United States and its territories for

Defendants’ violations of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3).

        17.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337, and

Sections 4 and 16 of the Clayton Act (15 U.S.C. §§ 15(a), 26).

        18.     Venue is proper in this District pursuant to Sections 4, 12, and 16 of the Clayton

Act (28 U.S.C. §§ 15, 22, and 26), and pursuant to 28 U.S.C. § 1391(b), (c), and (d), because, at

all times relevant to the Complaint, one or more of the Defendants resided, transacted business,

was found, or had agents in this District.

III.    PARTIES AND UNNAMED CO-CONSPIRATORS

        A.      Plaintiff

        19.     Plaintiff, D’Onofrio General Contractors Corp., is a business incorporated in the

State of New York with its primary place of business at 202 28th St, Brooklyn, New York, 11232.

        20.     During the Class Period, Plaintiff purchased CCAs in the United States or its

territories at supra-competitive prices directly from one or more of the Defendants.

        B.      Defendants

                1.      Sika

        21.     Defendant Sika AG is a Swiss corporation with its primary place of business at

Zugerstrasse 50 Baar, Zug, 6341 Switzerland. During the Class Period, Sika AG manufactured and

sold CCAs around the World, including in the United States, both directly and through its

predecessors, affiliates, and/or subsidiaries, including Defendant Sika Corporation.

        22.     Defendant Sika Corporation is a New Jersey corporation with its primary place of

business at 201 Polito Ave Lyndhurst, New Jersey, 07071. Sika Corporation has approximately

thirty-six (36) locations throughout North America, including twenty-eight (28) in the United




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States and three (3) in this District.27 During the Class Period, Sika Corporation manufactured and

sold CCAs in the United States and its territories, directly and/or through its predecessors,

affiliates, or subsidiaries.

        23.      Sika Corporation is a wholly owned subsidiary of Sika AG. Sika AG controls Sika

Corporation both generally and with respect to the conduct of Sika Corporation in furtherance of

the unlawful acts alleged in this Complaint.

        24.      Sika AG and Sika Corporation are collectively referred to herein as “Sika.”

                 2.        Saint-Gobain Group

        25.      Defendant Compagnie de Saint-Gobain S.A. is a French corporation with its

primary place of business at Tour Saint Gobain,12 Place De L Iris Courbevoie, Ile-De-France,

92400 France. During the Class Period, Saint-Gobain Group manufactured and sold CCAs around

the World, including in the United States and its territories, both directly and through its

predecessors, affiliates, and/or subsidiaries, including Saint-Gobain North America, Chryso, and

GCP.

        26.      Defendant Saint-Gobain North America is a Pennsylvania corporation with its

primary place of business at 20 Moores Rd., Malvern, Pennsylvania, 19355. Saint-Gobain North

America has approximately 150 locations throughout North America, including 106 in the United

States, four (4) of which are in this District.28 During the Class Period, Saint-Gobain North

America manufactured and sold CCAs in the United States and its territories, directly and/or

through its predecessors, affiliates, or subsidiaries.

        27.      Defendant Chryso is a Michigan corporation with its primary place of business at



27      SIKA, Locations, https://usa.sika.com/en/about-us/sika-usa-locations.html.
28      Saint-Gobain, Manufacturing Sites, https://www.saint-gobain-northamerica.com/manufacturing-sites.



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1611 Highway 276, Rockwall, TX 75032. With over 1,300 staff worldwide, Chryso has twenty-

two (22) foreign subsidiaries and serves customers in more than one hundred (100) countries,29

including four (4) in the United States.30 During the Class Period, Chryso manufactured and sold

CCAs in the United States and its territories, directly and/or through its predecessors, affiliates, or

subsidiaries.

        28.      Defendant GCP is a Georgia corporation with its primary place of business at 2325

Lakeview Parkway, Suite 450 Alpharetta, GA 30009. GCP employs roughly 2,400 people in more

than 40 countries, serving customers in more than 110 countries, including in the United States.31

During the Class Period, GCP manufactured and sold CCAs in the United States and its territories,

directly and/or through its predecessors, affiliates, or subsidiaries.

        29.      Saint-Gobain North America, Chryso, and GCP are wholly owned subsidiaries of

Compagnie de Saint-Gobain S.A., which controls Saint Gobain North America, Chryso, and GCP

both generally and with respect to their conduct in furtherance of the unlawful acts alleged in this

Complaint.

        30.      Compagnie de Saint-Gobain S.A., Saint-Gobain North America, Chryso, Inc., and

GCP Applied Technologies, Inc. are collectively referred to herein as “Saint-Gobain Group.”

                 3.        Master Builders Group

        31.      Defendant Cinven Ltd. is a British corporation with its primary place of business at

21 St. James's Square, London, SW1Y 4JZ, United Kingdom. Cinven Ltd. manufactures and sells

CCAs around the World, including in the United States and its territories, through its predecessors,

affiliates, or subsidiaries, including Cinven, Inc., MBSD, and MBSA.


29      Cement Admixtures Association, Members, https://www.admixtures.org.uk/members/.
30      CHRYSO, Inc. LinkedIn Profile, https://www.linkedin.com/company/chryso-inc/about/.
31      GCP Applied Technologies, Locations, https://ca.gcpat.com/en/about/locations.



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         32.       Defendant Cinven, Inc. is a New York corporation with its primary place of

business at Tower 49, 12 East 49th Street, New York, NY 10017.32 Cinven Inc. manufactures and

sells CCAs around the World, including in the United States and its territories, through its

predecessors, affiliates, or subsidiaries, including MBSA. Defendants Cinven Ltd. and Cinven Inc.

are collectively referred to herein as “Cinven.”

         33.       Defendant MBSD is a German corporation with its primary place of business at

Glücksteinallee 43-45, 68163 Mannheim, Germany. During the Class Period, MBSD

manufactured and sold CCAs around the World, including in the United States and its territories,

both directly and through its predecessors, affiliates, or subsidiaries, including MBSA. Indeed, the

CEO of MBSA, Borris Gorella, is the Managing Director of MBSD’s parent company, Master

Builders Solutions Holdings GmbH.

         34.       Defendant MBSA is a Delaware corporation with its primary place of business at

23700 Chagrin Blvd., Beachwood, Ohio, 44122. MBSA has approximately three (3) locations

throughout North America, including two (2) in the United States.33 During the Class Period,

MBSA manufactured and sold CCAs in the United States and its territories, directly and/or through

its predecessors, affiliates, or subsidiaries.

         35.       MBSD and MBSA are wholly owned subsidiaries of Cinven. Cinven controls

MBSD and MBSA both generally and with respect to the conduct of MBSD and MBSA in

furtherance of the unlawful acts alleged in this Complaint.

         36.       MBSD, MBSA, and Cinven are collectively referred to herein as “Master Builders

Group.”



32 Cinven, Locations, https://www.cinven.com/site-tools/cinven-offices.

33 Master Builders Solutions, Our Locations, https://www.master-builders-solutions.com/about-us/our-locations.




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                 4.        Euclid Group

        37.      Defendant Euclid is an Ohio corporation with its primary place of business at 19215

Redwood Rd, Cleveland, Ohio 44110. Euclid has approximately twenty-eight (28) locations in

North America, including twenty-one (21) locations in the United States, one of which is in this

District.34 During the Class Period, Euclid manufactured and sold CCAs in the United States and

its territories, directly and/or through its predecessors, affiliates, or subsidiaries.

        38.      Defendant RPM is a Delaware corporation with its primary place of business at

2628 Pearl Road, Medina, Ohio 44256. During the Class Period, RPM manufactured and sold

CCAs around the World, including in the United States and its territories, both directly and through

its predecessors, affiliates, or subsidiaries, including Euclid.

        39.      Euclid is a wholly owned subsidiary of RPM. RPM controls Euclid both generally

and with respect to the conduct of Euclid in furtherance of the unlawful acts alleged in this

Complaint.

        40.      Euclid and RPM are collectively referred to herein as “Euclid Group.”

                 5.        Doe Defendants

        41.      Doe Defendants 1-10 are members of the price-fixing conspiracy alleged herein

whose identities are presently unknown to Plaintiff. These include, among other entities, the

various “industry bodies” referenced in the CMA’s statement regarding its investigation. Plaintiff

expects that the identity of these Doe Defendants will be revealed during discovery, at which point

Plaintiff will seek leave to amend its complaint to add those entities in place of the Doe Defendants.

        C.       Agents and Unnamed Co-Conspirators

        42.      The acts alleged against the Defendants in this Complaint were authorized, ordered,


34      The Euclid Group, Locations, http://12.43.214.238/locations.



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or done by their officers, agents, employees, or representatives, while actively engaged in the

management and operation of Defendants’ businesses or affairs.

          43.      Various persons and/or firms not named as Defendants herein may have

participated as co-conspirators in the violations alleged herein and may have performed acts and

made statements in furtherance thereof.

          44.      Each Defendant acted as the principal, agent, or joint venture of, or for, other

Defendants with respect to the acts, violations, and common course of conduct alleged by Plaintiff.

IV.       FACTUAL ALLEGATIONS

          A.       CCAs Generally

                   1.        CCAs Are an Essential Input in Cement, Concrete, and Mortar

          45.      CCAs are added to cement, concrete, and mortar to improve their safety and

functionality.

          46.      Concrete is an important resource for all kinds of construction projects in the United

States and its territories. Just over half of the low-rise (less than three-stories in height) structures

in the United States and its territories are built out of concrete.35

          47.      Cement is a binding agent made from limestone and clay and is also used

extensively in building in the United States. Cement production in the United States and its

territories reached its highest level in more than a decade in 2022, amounting to 95 million metric

tons.36

          48.      Mortar is a combination of cement and sand and is primarily used to hold ready-

made building units (like bricks or blocks) in place.


35        PCA, Buildings & Structures, https://www.cement.org/cement-concrete/paving/buildings-structures.
36        Statista, Apparent Cement Consumption in the U.S. from                    2010    to    2022   (Oct.   30,   2023),
https://www.statista.com/statistics/273367/consumption-of-cement-in-the-us/.



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         49.      Figure 1, below, illustrates the differences and uses of concrete, cement, and

mortar:37

                             Figure 1: Cement vs. Concrete vs. Mortar




         50.      CCAs are integral to the construction of America’s infrastructure, including

residential, commercial, and industrial buildings, roads, bridges, tunnels, and airports.38 Indeed,

the CMA recently concluded that CCAs are “an essential input in the production” of cement,

concrete, and mortar.39



37         The        Spruce,       Differences        Between         Cement,        Concrete, and       Mortar,
https://www.thespruce.com/thmb/r3NjpAf8yDRYLArSXx2BX2iwcOM=/1500x0/filters:no_upscale():max_bytes(150000):strip_
icc()/difference-between-cement-concrete-and-mortar-2130884-final-ac-5c1aa0e546e0fb0001909553-
fd07f31197cd491e85bf0eb8200f6f5e.png.
38       International Association of Certified Home Inspectors, Concrete Admixtures, https://www.nachi.org/concrete-
admixtures.htm.
39       CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 4 (Sept. 23, 2022).




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         51.      The essential nature of CCAs is shown in Figure 2, below, from Saint-Gobain:40

                                      Figure 2: How CCAs Are Used




         52.      Due to their essential nature, the vast majority of projects using concrete, cement,

and/or mortar also use CCAs.

                  2.        Types of CCAs

         53.      As noted above, CCAs include (a) concrete admixtures, (b) cement additives, and

(c) admixtures for mortar. The CMA has described the uses for each as follows:

                  Chemical admixtures for cement are added to cement in order to
                  reduce the amount of energy required to grind the cement (ie
                  grinding aids) as well as to improve the performance of the cement
                  (ie performance enhancers or quality improvers);

                  Chemical admixtures for concrete are added to improve the

40       Joana Alberto, LinkedIn Post (2022), https://www.linkedin.com/posts/joana-alberto_constructionchemestry-solutions-
decarbonazation-activity-6940612387087503360-sqzk/?utm_source=share&utm_medium=member_desktop.




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                   properties of concrete or wet mortar, including super-plasticizers,
                   plasticizers, air entrainers, retarders and accelerators; and

                   Other chemical admixtures include admixtures for dry mortar and
                   certain admixtures for wet mortar that are not also used for concrete,
                   for example as they increase the adhesion properties of mortar but
                   do not reduce the amount of water required.41

         54.       Manufacturers of CCAs use the same equipment and chemicals to produce these

CCAs, so they can quickly and cost-effectively shift production from one category of CCA to

another.42 On the other hand, purchasers of CCAs do not view these products as interchangeable,

nor do purchasers view there as being substitutes for CCAs.

         55.       The American Society for Testing and Materials (“ASTM”) identifies seven

primary types of CCAs, based on the qualities they add to the aggregate material: (a) Type A—

water reducing (plasticizer); (b) Type B—retarding; (c) Type C—accelerating; (d) Type D—water

reducing and retarding; (e) Type E—water reducing and accelerating; (f) Type F—water reducing,

high range (“HRWR,” or superplasticizer); and (g) Type G—water reducing, high range, and

retarding.43 The ASTM also recognizes several other admixture types, including those that have

air entraining (to enhance compressive or flexural strength of concrete), and cold weather setting

properties.

         56.       The various types of CCAs are shown in Figure 3, below:44



41       CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, FN 57 (Sept. 23, 2022).
42       Id.
43        ASTM, Standard Specification for Chemical Admixtures for Concrete, https://www.astm.org/c0494_c0494m-17.html
(last updated Mar. 10, 2020).
44         Id.; ASTM, Standard Specification for Air-Entraining Admixtures for Concrete, https://www.astm.org/c0260_c0260m-
10ar16.html (last updated Dec. 27, 2016); ASTM, Standard Specification for Admixtures to Inhibit Chloride-Induced Corrosion of
Reinforcing Steel in Concrete, https://www.astm.org/c1582_c1582m-11r17e01.html (last updated July 28, 2017); ASTM, Standard
Specification for Cold-Weather Admixture Systems, https://www.astm.org/c1622_c1622m-10r16e01.html (last updated Dec. 27,
2016); ASTM, Standard Specification for Pigments for Integrally Colored Concrete, https://www.astm.org/c0979_c0979m-16.html
(last updated Dec. 27, 2016); Concrete Network, Admixtures by Classification, https://www.concretenetwork.com/photo-
gallery/site_26/chris-sullivan_14351/.




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                               Figure 3: Types of CCAs, By ASTM Code

        ASTM Code                                  Use                               Active Ingredient(s)45

                                       Water Reducing (i.e.,                  Lignosulfonates; Hydroxylated
                                     reduce the water required             carboxylic acids; Melamine sulfonate;
        C494 Type A
                                        to achieve a given                    Phosphonate salts; Naphthalene
                                            consistency                                  sulfonate

                                        Retarding (i.e., delay             Amino Trimethylene Phosphonic Acid
        C494 Type B
                                              setting)                                (“ATMP”)

                                                                            Calcium chloride; Triethanolamine;
                                                                             Aluminum hydroxide; Aluminum
                                      Accelerating (i.e., speed
                                                                            sulfate; Calcium nitrite; Oxalic acid;
        C494 Type C                   up the setting and early
                                                                                Sodium thiocyanate; Sodium
                                      strength development)
                                                                            thiosulfate; Calcium formate; Silica
                                                                                       fume; Silica gel

                                         Water Reducing &
        C494 Type D                                                                   See Type A & Type B
                                            Retarding

                                         Water Reducing &
        C494 Type E                                                                   See Type A & Type C
                                           Accelerating

                                     Water Reducing & High
         C494 Type F                Range (“Superplasticizer”                           Polyether alcohols
                                           “HRWR”)

                                       Water Reducing, High
        C494 Type G                                                                   See Type B & Type F
                                        Range, & Retarding

                                                                            Salts of wood resins; Some synthetic
                                                                            detergents; Salts of sulfonated lignin;
                                        Air Entraining (i.e.,
                                                                              Salts of petroleum acids; Salts of
                                       improved durability,
              C260                                                            proteinaceous material; Fatty and
                                     compressive and flexural
                                                                                resinous acids and their salts;
                                             strength)
                                                                               Alkydbenzene sulfonates; Fatty
                                                                                alcohols and other surfactants

                                      Reduce costs; improve
              C618                                                                 Natural Pozzolans; Fly ash
                                     workability and plasticity

45       Bisley International, Raw Materials for Concrete Admixture, https://bisleyinternational.com/raw-materials-for-concrete-
admixture.




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                                       Water Repelling (i.e.,                  Stearate of calcium, aluminum,
       C494 Type S                    decrease permeability of                ammonium, or butyl; Petroleum
                                     finished concrete surface)               greases or oils; Soluble chlorides

                                                                                         Calcium nitrite
                 C1582                  Corrosion Inhibiting
                                                                                         Lithium nitrate

                 1622                   Cold Weather Setting                              Sodium nitrite

           57.      As Figure 3 shows, CCAs are made by blending polymers and other chemicals

together. These raw materials can be difficult to manufacture, as they require specialized facilities

and significant research and development. Whereas Defendants research, develop, and

manufacture at least some of these polymers in-house (though they also purchase polymers from

third parties),46 smaller manufacturers of CCAs source these polymers exclusively from third

parties.

           58.      In recent years, there has been a reported shortage in the polymers necessary to

manufacture CCAs, thus giving Defendants (who produce at least some of their own polymers in-

house) a competitive advantage over smaller manufacturers of CCAs.47 However, as set forth in

greater detail herein, the alleged shortage in these polymers does not and cannot fully explain

Defendants’ huge price increases and surcharges for CCAs that they implemented during the Class

Period.

                    3.        How CCAs Are Sold and Who Buys Them

           59.      Most CCAs are sold in ready-to-use liquid form and can be added to the cement,

concrete, or mortar either at the plant where it is produced (e.g., ready-made concrete mix) or at




46         CMA, Decision on Relevant Merger Situation and Substantial Lessening of Competition, ¶ 88 (Sept. 22, 2022).
47         Id.



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the jobsite where it is to be used.48

         60.       An example of how CCAs are packaged and sold is shown in Figure 4, below:49

                           Figure 4: Picture of SikaMix AE-6 Packaging




         61.       Purchasers of CCAs operate in the construction and industrial sectors and include

producers of ready-mixed concrete, shotcrete,50 and pre-cast concrete.51 Purchasers of CCAs

typically purchase the majority of their CCAs from a single supplier.52

         62.       In general, CCAs are sold by Defendants directly to suppliers of ready-mix concrete

and masonry, as well as through distributors.




48       Sika, Corporate       Governance     (2022),    https://www.sika.com/dam/dms/corporate/media/glo-ar-2022-corporate-
governance.pdf.
49        Sika USA, SikaMix AE-6, https://usa.sika.com/en/construction-products/concrete/concrete-admixtures/dry-cast-
admixtures/efflorescence-control/sikamix-ae-6.html; see also Master Builders Solutions, Concrete Admixtures,
https://www.master-builders-solutions.com/en-us/products/concrete-admixtures; CHRYSOQuad, Lower Quality Sands: Impact
Concrete Performance and Placement, https://www.chrysoinc.com/solutions/chrysoquad/; Sika USA, A Complete Range of
Concrete Admixtures, https://usa.sika.com/en/construction/concrete/concrete-admixtures.html.
50        Shotcrete (or gunite) is a type of ready-mixed concrete that, instead of being poured and spread, is fed through a hose
and applied using a high-pressure sprayer. It is typically used for concrete walls, such as in tunnels.
51       Sika USA, A Complete Range of Concrete Admixtures, https://usa.sika.com/en/construction/concrete/concrete-
admixtures.html.
52       CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 49 (Sept. 23, 2022).




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         B.       The Market for CCAs in the United States and Its Territories

         63.      The United States and its territories are a large market for CCAs, at roughly $3

billion per year.53 Roughly $100 million is imported into the United States each year.54

         64.      Defendants are the dominant manufacturers and sellers of CCAs in the World, and

in the United States and its territories. On information and belief, Plaintiff’s estimate of

Defendants’ market share in the United States is between eighty and ninety percent (80% to 90%)55

         65.      Defendants manufacture and sell numerous CCAs in the United States and its

territories, as well as around the World. Purchasers of CCAs in the United States and its territories

import them directly from the foreign Defendants (e.g., Compagnie de Saint-Gobain S.A., Sika

AG, and MBSD) and buy them from their domestic subsidiaries (e.g., Sika Corp., Chryso, GCP,

and MBSA).56 The below figures list some of the CCAs sold in the United States and its territories

by Defendants.




53        Mordor Intelligence, North America Concrete Admixtures Market Size & Share Analysis – Growth Trends &
Forecasts 2023 – 2028, https://www.mordorintelligence.com/industry-reports/north-america-concrete-admixtures-market.
54
           U.S.     International  Trade  Commission,     U.S.    Imports     for   Consumption      HTS6   3824.40,
https://hts.usitc.gov/search?query=6%20382440.
55       CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 75 (Sept. 23, 2022).
56       CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 124(b) (Sept. 23, 2022).




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        66.      Figure 5 lists some of the CCAs sold by Sika in the United States and its territories:

                                  Figure 5: CCAs Sold by Sika

        Chromix                 SikaMultiAir              SikaViscoFlow               SikaMix
                                                         Sika Watertight
        SikaAEA                SikaPlastiment                                        SikaPlast
                                                         Concrete Powder
                                                                                 SikaQuick Winter
         SikaAir               SikaPlastocrete               SikaWT
                                                                                      Boost
       SikaAntisol                SikaRapid                 SikaColor                 SikaSet
        SikaCem                 SikaRugasol                SikaControl               SikaTard
   SikaCem Summer
                                 SikaSigunit                 Sikacrete             SolarChrome
       Extender
        SikaCNI                 SikaStabilizer              Sikament                ViscoCrete
                                                          Sika Lightcrete         Sika Lightcrete
        SikaGrind              Sika FerroGard
                                                             Powder                   Liquid

        67.      Figure 6 shows some of the CCAs sold by Saint-Gobain Group in the United States

and its territories:

                       Figure 6: CCAs Sold by Saint-Gobain Group

                                                 Chryso
     CHRYSO Air                CHRYSO Aqua                 CHRYSO CI            CHRYSO Control
                               CHRYSO Dust                                        CHRYSO Fluid
     CHRYSO DSF                                         CHRYSO EnviroMix
                                Suppressant                                          ProPel
    CHRYSO Fluid               CHRYSO Fluid
                                                        CHRYSO NutralSet        CHRYSO Optima
      Optima                      Premia
  CHRYSO Optifinish          CHRYSO PoreTite              CHRYSO Plast           CHRYSO Premia
    CHRYSO Quad             CHRYSO Quad EMx              CHRYSO Serenis           CHRYSO Tard
 CHRYSO TurboCast                     --                        --                       --




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                                                 GCP
          Adva                    Daratard                  Force               RDA
         Airalon                  Daravair               Hydrophobe            Recover
         Clarena                   Darex                    Mira               Synchro
        Daraccel                    DCI                     Optec               Tavero
                                 Dry-Block
        Daracem                                            Polarset            Terapave
                                 Admixture
                              Dry-Block Mortar
         DaraFill                                          Postrite            Tyronix
                                 Admixture
         Darapel                  Eclipse                 Quantec               Tytron
         Daraset                    FXP                     Rasir               V-Mar
         WRDA                       Zyla                      --                  --

        68.      Figure 7 shows some of the CCAs sold by Master Builders Group in the United

States and its territories:

                      Figure 7: CCAs Sold by Master Builders Group

        MasterAir              MasterGlenium           MasterPolyheed          MasterSet
       MasterCast                MasterLife            MasterPozzolith        MasterSure
       MasterCell              MasterMatrix            MasterRheobuild      Master X-Seed
      MasterColor                MasterPel                   ---                  ---




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         69.       Figure 8 shows some of the CCAs sold by Euclid Group in the United States and

its territories:

                              Figure 8: CCAs Sold by Euclid Group
       Accelguard               Eucon Barracade             Eucon MRX              Eucon Retarder
          Conex                    Eucon BCN                 Eucon NR                Eucon WRX
         Eucon 37                  Eucon CIA                Eucon NW                   Eucon X
       Eucon 1037                   Eucon DS                 Eucon SE                Eucon SRA
        Eucon 537                Eucon Easy Fill             Eucon SP                Eucon Stasis
        Eucon A+              Eucon Integral ARC          Eucon Sureshot              Eucon WR
       Eucon ABS                    Eucon LR              Eucon Vandex                  Plastol
        Eucon Air                  Eucon LW                 Eucon WO                   Visctrol
       Eucon AWA                   Eucon MR                      --                        --

         C.        Global Antitrust Investigations into Defendants’ Anticompetitive Conduct

         70.       On October 17, 2023, the EC announced that it had carried out dawn raids at several

firms active in the construction chemicals industry in connection with suspected cartel conduct:

               On 17 October 2023, the European Commission carried out unannounced
               inspections at the premises of companies active in the concrete chemical
               admixture industry in various Member States.

               The inspections concern possible collusion in relation to the supply of
               chemical product ingredients that are added to cement, concrete and mortar
               to modify and improve their properties and provide them with specific
               qualities.

               The Commission has concerns that companies in the concrete chemical
               admixture industry worldwide may have violated EU antitrust rules that
               prohibit cartels and restrictive business practices (Article 101 of the Treaty
               on the Functioning of the European Union).




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               The EC said its inspections “were conducted in coordination with the UK
               CMA and the Turkish Competition Authority”, adding that it had also been
               in contact with the US Department of Justice’s Antitrust Division.57

         71.      The EC was accompanied by its counterparts from the national competition

authorities of the European Union Member States where the inspections were carried out.58

         72.      That same day, the CMA confirmed its participation in the investigation and named

Sika, Saint-Gobain Group, and Master Builders Group as the subject of that investigation:

               The CMA has reason to suspect anti-competitive behaviour has taken
               place involving suppliers of chemical admixture and products containing
               CCA for use in the manufacture of consumer products such as household
               and personal care products.

               The businesses under investigation by the CMA are: Sika AG, Sika
               Corporation, Saint-Gobain Group, Saint-Gobain North America, Master
               Builders Construction Chemicals Group, Master Builders Solutions
               Admixtures US, LLC, Cinven Group LTD, and Cinven Group LTD.

               The CMA has been in contact with the Antitrust Division of the US
               Department of Justice, the European Commission and the Turkish
               Competition Authority in relation to this matter, and this investigation has
               been launched in consultation with them.59

         73.      The EC, CMA, and TCA confirmed their involvement in the investigation and

provided further details regarding the conduct they were investigating:

               The European Commission opened an investigation into antitrust violations
               at construction chemical operations. There are suspicions that producers
               have colluded.

               The CMA has indications that there is anticompetitive conduct between a
               “number of suppliers” and “some industry bodies” in violation of cartel
               law. The searches come five months after chemical admixture supplier Sika
               completed its proposed £4.5 billion acquisition of rival [Master Builders]
57        Construction News, Competition Regulators Probe Concrete Additive Firms (Oct.                         19, 2023),
https://www.constructionnews.co.uk/legal/competition-regulators-probe-concrete-additive-firms-19-10-2023/ (emphasis added).
58         GCR, Sika, Saint-Gobain and Cinven-owned Business Targeted in Cross-Border Cartel Probe (Oct. 18, 2023),
https://globalcompetitionreview.com/article/update-sika-saint-gobain-and-cinven-owned-business-targeted-in-cross-border-
cartel-probe (emphases added).
59       Gov.UK, Suspected Anti-Competitive Conduct in Relation to the Supply of Chemicals for Use in the Construction
Industry (Oct. 17, 2023), https://www.gov.uk/cma-cases/suspected-anti-competitive-conduct-in-relation-to-the-supply-of-
chemicals-for-use-in-the-construction-industry (emphasis added).




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               Group. There are suspicions that these undertakings have coordinated
               their pricing policy, prohibited their competitors from supplying certain
               customers and limited the production of essential ingredients used in the
               production of concrete, mortar and cement. The undertakings involved in
               the investigation are Sika AG, Sika Corporation (USA), Saint-Gobain North
               America (USA), Master Builders Construction Chemicals Group, Master
               Builders Solutions Admixtures US, LLC (USA), Cinven LTD, and Cinven
               Group LTD.

               Dawn raids were conducted at various locations. These were carried out in
               consultation with other competition authorities, namely the European
               Commission, the US Department of Justice Antitrust Division, the Turkish
               Competition Authority, and the UK Competition and Markets Authority.60

         74.       Sika, Saint-Gobain Group, and Master Builders Group have all confirmed that they

are subjects of the investigation, as set forth below.61

         75.       On October 18, 2023, Sika confirmed the investigation in a statement to

Construction News (“CN”): Sika confirmed to CN that inspections had taken place into “suspected

antitrust irregularities in the area of additives for concrete and cement,” adding that “[t]he fair

operations of the markets is fundamental to Sika and we support this investigation with all our

efforts and cooperate fully with the authorities.”62

         76.       On October 18, 2023, Saint-Gobain Group confirmed its cooperation in an email:

“We can confirm that Saint-Gobain is aware of competition law investigations and cooperating

with these investigations.”63




60         ICIS, EU, UK, Turkey Authorities Launch Construction Chems Antitrust Investigation (Oct. 18, 2023),
https://www.icis.com/explore/resources/news/2023/10/18/10935016/eu-uk-turkey-authorities-launch-construction-chems-
antitrust-investigation/ (emphases added).
61         GCR, Sika, Saint-Gobain and Cinven-owned Business Targeted in Cross-Border Cartel Probe (Oct. 18, 2023),
https://globalcompetitionreview.com/article/update-sika-saint-gobain-and-cinven-owned-business-targeted-in-cross-border-
cartel-probe.
62        Construction News, Competition Regulators Probe Concrete Additive Firms (Oct.                            19,   2023),
https://www.constructionnews.co.uk/legal/competition-regulators-probe-concrete-additive-firms-19-10-2023/.
63        Nasdaq,   St Gobain         says   Cooperating     in    EU     Probe    into    Construction Chemicals Cartel,
https://www.nasdaq.com/articles/st-gobain-says-cooperating-in-eu-probe-into-construction-chemicals-cartel (last updated Oct. 18,
2023).




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         77.      That same day, Master Builders Group confirmed the investigation by the EC.64

         78.      The inspections by the EC were not undertaken casually. Inspections are typically

done by an order of the EC, and the EC must have “reasonable grounds for suspecting an

infringement of the competition rules;” “[i]t must be borne in mind that the inspections carried out

by the Commission are intended to enable it to gather the necessary documentary evidence to check

the actual existence and scope of a given factual and legal situation concerning which it already

possesses certain information.”65

         79.      The same is true for the TCA. Earlier this year, the Turkish Constitutional Court,

the highest legal body for constitutional review in Turkey, held that the TCA may conduct a dawn

raid after first obtaining a search warrant from a Turkish criminal court.66

         80.      This investigation follows several years in which the Defendants have generally

increased their profits while also imposing price increases and surcharges that are not adequately

explained by other competitive factors.

         81.      These increases in profits during the Class Period are inconsistent with the

Defendants’ pretextual explanation that their price increases were intended to offset rising costs

and are more consistent with the existence of a conspiracy to fix prices.

         D.       Defendants Effectuated Their Conspiracy Through Their Shared CCA Trade
                  Associations

         82.      In announcing the coordinated dawn raids, the CMA stated that the anticompetitive

conduct at issue included not only individual companies, but also “some industry bodies.” This is



64         GCR, Sika, Saint-Gobain and Cinven-owned Business Targeted in Cross-Border Cartel Probe (Oct. 18, 2023),
https://globalcompetitionreview.com/article/update-sika-saint-gobain-and-cinven-owned-business-targeted-in-cross-border-
cartel-probe.
65       Case No. T-135/09, Nexans France SAS v. Comm’n, 2012 E.C.R. 43.
66        Lexology, A New            Era for the On-Site Inspections by the                TCA     (Aug.    23,   2023),
https://www.lexology.com/library/detail.aspx?g=31016b1d-6615-4bb5-ad85-9a8fd9db3ecf.



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hardly surprising, given that Defendants share membership in a multitude of CCA trade

associations around the World. This gave Defendants ample opportunity to meet and conspire in

furtherance of their agreement to fix prices for CCAs.

       83.      Defendants Sika, Saint-Gobain Group, and Master Builders Group are members of

the following shared trade associations: (a) the Belgian CCA trade association, FIPAH;67 (b) the

French CCA trade association, SYNAD;68 (c) the Italian CCA trade association, ASSIAD;69 (d) the

Norwegian CCA trade association, NCCA;70 (e) the Spanish CCA trade association, ANFAH;71 (f)

the Swedish CCA trade association, SACA;72 (g) the Turkish CCA trade association, KUB;73 and

(h) the UK CCA trade association, CAA.74 Euclid is also a member of KUB.75 Each of these trade

associations also belongs to an umbrella CCA trade association: EFCA.

       84.      EFCA. EFCA describes itself as “a partnership of 13 National Admixture

Associations, formed in 1984 in order to represent the interests of the industry.”76 EFCA’s

membership “provides in excess of 80% of admixture sales within Europe and represents all the

major admixture manufacturers.”77

       85.      The current EFCA Executive Board is made up of President Gianluca Bianchin,

Vice Presidents Thomas Hirschi and Osman Ilgen, Sustainability Committee Chair                                  Nihal


67     FIPAH, Members, https://www.fipah.be/fr/membres/.
68     Synad,   https://www.synad.fr/synad-syndicat-des-fabricants-d-adjuvants-beton-colorants-fibres.
69     ASSIAD, The Structure, https://www.assiad.it/LAssociazione/La-struttura.
70     NCAA, Welcome, https://ncca.no/.
71     ANFAH, Associate Members, https://anfah.org/anfah/miembros-de-anfah/.
72     SACA, Member Companies, https://www.saca.se/medlemmar.html.
73     KUB, About Us, https://kub.org.tr/hakkimizda/.
74     Cement Admixtures Association, Members, https://www.admixtures.org.uk/members/.
75     KUB, About Us, https://kub.org.tr/hakkimizda/.
76     EFCA, About Us, https://www.efca.info/about-us/.
77     Id.




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Kinnersley, and Technical Committee Chair Francesco Surico.78 Thomas Hirschi has worked at

Sika since July of 2001 and has served as “Target Market Manager Concrete Waterproofing” for

the company since January of 2017.79 Osman Ilgen was Managing Director at Chryso from March

of 2015 through September of 2023 and has been a Vice President at Saint-Gobain Group since

January of 2023.80 He also currently serves as President of KUB.81 Nihal Kinnersley has worked

as a Product Stewardship Manager at GCP since March of 2016 and as a Product Stewardship

Director at Saint-Gobain Group since July of 2023.82

         86.       Other members of the ECFA Board include Kai Salo of Sika, Claude Le Fur, who

worked at Sika until July of 2021, and Suat Seven of Master Builders Group.83

         87.       Members of the EFCA Technical Committee include Ian Ellis, who worked at

Master Builders Group until July of 2022, Marko Kaisanlahti of Master Builders Group, Franz

Wombacher of Sika, Trond Solbo of Sika, Osman Tezel of Saint-Gobain Group, Jean-Philippe

Bigas of Saint-Gobain Group, and Robert Hurkmans of Saint-Gobain Group.84

         88.       Members of the EFCA Environmental Committee (which is also referred to as the



78       EFCA, Structure, https://www.efca.info/about-us/efca-structure/.
79       Thomas Hirschi, LinkedIn Profile, https://www.linkedin.com/in/thomas-hirschi-01159b83/?originalSubdomain=ch.
80       Osman Ilgen, LinkedIn Profile, https://www.linkedin.com/in/osmanilgen1972/?originalSubdomain=tr.
81       Id.
82       Nihal Kinnersley, LinkedIn Profile, https://www.linkedin.com/in/nihal-kinnersley-ba506b22/?originalSubdomain=uk.
83        EFCA,       Committees,       https://www.efca.info/efca-committees/;   Kai     Salo,          LinkedIn       Profile,
https://www.linkedin.com/in/kai-salo-72384880/?originalSubdomain=fi;       Claude     Le    Fur,          LinkedIn      Profile,
https://www.linkedin.com/in/claude-le-fur-a4735857/?originalSubdomain=fr;       Suat     Seven,          LinkedIn       Profile,
https://www.linkedin.com/in/suat-seven-b9a7403a/?originalSubdomain=tr.
84         EFCA,       Committees,       https://www.efca.info/efca-committees/;       Ian      Ellis,    LinkedIn      Profile,
https://www.linkedin.com/in/ian-ellis-72a94115/?originalSubdomain=uk;        Marko         Kaisanlahti,    LinkedIn     Profile,
https://www.linkedin.com/in/marko-kaisanlahti-28ab2b116/?originalSubdomain=fi; Franz Wombacher, LinkedIn Profile,
https://www.linkedin.com/in/franz-wombacher-9888b941/?originalSubdomain=ch;            Osman       Ilgen,   LinkedIn    Profile,
https://www.linkedin.com/in/osmanilgen1972/?originalSubdomain=tr; Sika Norway, Technical Department/Environment/QEHS,
https://nor.sika.com/no/teknisk-avdeling.html; Jean Philippe Bigas, LinkedIn Profile, https://www.linkedin.com/in/jean-philippe-
bigas-658a07b5/?originalSubdomain=fr; CHRYSO, Saint-Gobain Weber Beamix Enlarges its Offering in the Netherlands with
Weber Cemfloor Screed and Chryso Concrete Admixtures (June 9, 2023), https://www.chryso.com/news/saint-gobain-weber-
beamix-enlarges-its-offering-in-the-netherlands-with-weber-cemfloor-screed-and-chryso-concrete-admixtures/.




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Sustainability Committee) include Marko Kaisanlahti of Master Builders Group, Maxime Julliot

of Master Builders Group, Mark Schneider, who worked for Sika until October of 2022, Bjorn

Stockmann of Sika, Anders Larsson of Sika, and Osman Tezel of Saint-Gobain Group.85

         89.      FIPAH. FIPAH’s website declares that it was founded “with the aim of promoting

the common interests of the ‘Concrete and Mortar Admixtures Industry.’”

         90.      SYNDAD. One of SYNAD’s stated goals is to “to establish a relationship between

all market players.” SYNAD representatives currently serving on EFCA committees include

Claude Le Fur, Jean-Philippe Bigas, and Maxime Julliot.86 Claude Le Fur worked at Sika from

2008 through July of 2021, and his last role was “Manager of Business Development for Europe

South and Middle East.”87 Jean-Philippe Bigas began working for Chryso in 2006, and has served

as its “Technical Director in charge of regulatory aspects and sustainable development” since June

of 2023.88 Maxime Julliot works as a Market Manager at Master Builders Group.89

         91.      ASSIAD. Part of ASSIAD’s mission is to “bring together the interested companies

or groups thereof to discuss issues of common interest.” The ASSIAD website lists 11 “Consiglio

Generale” members, including Leonardo Messaggi of Sika (President), Mario Casali of GCP,

Donato Luciano of Chryso, and Roberto Spaggiari of Master Builders Group.90 On April 9, 2021,



85        EFCA,       Committees,      https://www.efca.info/efca-committees/;   Marko   Kaisanlahti,   LinkedIn Profile,
https://www.linkedin.com/in/marko-kaisanlahti-28ab2b116/?originalSubdomain=fi; Mark Schneider, LinkedIn Profile,
https://www.linkedin.com/in/mark-schneider-157a57108/?originalSubdomain=ch;         Osman     Ilgen,   LinkedIn  Profile,
https://www.linkedin.com/in/osmanilgen1972/?originalSubdomain=tr;           Bjorn     Stockmann,      LinkedIn   Profile,
https://www.linkedin.com/in/bj%C3%B8rn-stockmann-52346034/?originalSubdomain=no; Andres Larsson, LinkedIn Profile,
https://www.linkedin.com/in/anders-larsson-3278731b7/?originalSubdomain=se; Master Builders Solutions, Meet Our Team,
https://masterfiber.master-builders-solutions.com/contact/contact.
86       EFCA, Committees, https://www.efca.info/efca-committees/.
87       Claude Le Fur, LinkedIn Profile, https://www.linkedin.com/in/claude-le-fur-a4735857/?originalSubdomain=fr.
88      Jean       Philippe     Bigas,          LinkedIn        Profile,       https://www.linkedin.com/in/jean-philippe-bigas-
658a07b5/?originalSubdomain=fr.
89       Master Builders Solutions, Meet Our Team, https://masterfiber.master-builders-solutions.com/contact/contact.
90       ASSIAD, The Structure, https://www.assiad.it/LAssociazione/La-struttura.




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ASSIAD announced four new members of the ASSIAD Board, including Donato Luciano of

Master Builders Group, Jean Mascaro of Chryso, and Leonardo Messaggi of Sika.91

          92.       On July 21, 2023, ASSIAD announced that Leonardo Messaggi of Sika was elected

President of ASSIAD for the period from 2023 to 2027.92 Leonardo Messaggi has worked for Sika

since 2016 and currently serves as “Target Market Manager for Concrete & Industrial Flooring.”93

In addition, Paolo Novello of Chryso serves as the Vice President of ASSIAD.94

          93.       On October 4, 2023, ASSIAD announced the creation of a new Technical Evolution

Committee made up of 13 members, including Fabrizio Avallone and Cristiano Cereda of Sika,

Mario Casali and Pietro Massinari of Chryso, and Ivana Torresan of Master Builders Group.95

          94.       On October 5, 2023, Messaggi announced that the thirteen (13) members of the new

Technical Evolution Committee would participate in roundtables at the first “General States of

Concrete Technology” at SAIE Bari, an industry meeting, in October of 2023.96 Sika, Chryso,

GCP, and Master Builders Group were all scheduled to participate as “exhibitors” at this meeting.97

          95.       NCCA. NCCA representatives currently serving on EFCA committees                                      include



91       Press Release, ASSIAD, Two New Additions to the General Council          (Apr. 9, 2021), https://www.assiad.it/News/due-
nuovi-ingressi-nel-consiglio-generale.
92        Press Release, ASSIAD, ASSIAD Announces the Election of the New President and Vice Presidents for the Four-Year
period 2023-2027 (July 21, 2023), https://www.assiad.it/News/assiad-annuncia-lelezione-del-nuovo-presidente-e-dei-
vicepresidenti-per-il-quadriennio-2023-2027.
93        Leonardo Messaggi, LinkedIn Profile, https://www.linkedin.com/in/leonardo-messaggi-5b949670/?locale=en_US.
94        ASSIAD, The Scientific Steering Committee and Technical Evolution Committee of ASSIAD are Born (Oct. 4, 2023),
https://www.assiad.it/News/nascono-il-comitato-di-indirizzo-scientifico-e-comitato-evoluzione-tecnica-di-assiad;           Ingenio,
Concrete and Construction Post-Covid: Companies are Ready to Adopt the “Circular Economy” (July 29, 2020),
https://www.ingenio-web.it/articoli/calcestruzzo-e-edilizia-post-covid-le-imprese-sono-pronte-ad-adottare-la-circular-economy/;
Arketipo, ICARE Cement Technology by Chryso (Aug. 28, 2020), https://www.arketipomagazine.it/tecnologia-per-il-cemento-
icare-by-chryso/; Paolo Novello, LinkedIn Profile, https://www.linkedin.com/in/paolo-novello-bab315b2/?originalSubdomain=it.
95        ASSIAD, The Scientific Steering Committee and Technical Evolution Committee of ASSIAD are Born (Oct. 4, 2023),
https://www.assiad.it/News/nascono-il-comitato-di-indirizzo-scientifico-e-comitato-evoluzione-tecnica-di-assiad.
96       Ingenio, ASSIAD Among the Protagonists at the General States on Concrete Technology at SAIE Bari 2023 (Oct. 5,
2023), https://www.ingenio-web.it/articoli/assiad-tra-i-protagonisti-agli-stati-generali-della-tecnologia-del-calcestruzzo-al-saie-
bari-2023/.
97        Id.




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Trond Solbo and Bjorn Stockmann, who both work for Sika.98 As explained herein, these Sika

employees met with executives from other Defendants in their roles as EFCA committee members.

         96.      ANFAH. ANFAH members represent “around 90% of the admixtures used in

Spain.”99

         97.      SACA. SACA representatives currently serving on EFCA committees include

Anders Larsson, who works for Sika.100 As explained herein, Anders Larsson met with executives

from other Defendants in his role as an EFCA committee member.

         98.      KUB. KUB boasts that it “dominates 80% of the Turkish market,” which itself

makes up 40% of the total concrete admixture market in Europe.101 On March 13, 2020, KUB

announced that Turgay Ozkun, a General Manager at Sika, had been elected as Chairman of the

Board. At the same time, Osman Ilgen, a Vice President with Saint-Gobain Group, was elected as

Vice President of the Board, and Suat Seven of Master Builders Group was also elected to the

Board.102 Osman Ilgen currently serves as both President of KUB and Vice President of EFCA.103

         99.      CAA. Two Master Builders Group executives currently hold leadership positions

in the CAA: Chris Fletcher, a Master Builders Group Managing Director, is Chairman of the CAA

Council, which “[e]stablishes and implements policy, promotes admixture use, [and] manages

[CAA’s] committees, task groups, and finances,” while Ian Ellis, formerly a Master                               Builders


98         SAIE,               Exhibitor               Preview,                 https://eventi.senaf.it/preview-
espositori.php?CSRFName=CSRFGuard_330546167&CSRFToken=7908882XTY66GK7IT8RA8XB7KGFK67NWMU5BCCD
DP5O0T8VC1XGIJSJ3T8EOOB7B&rag_soc=master+builders&rag_soc_inizia=&settore=&ide=1816&action=reimposta.
99       EFCA, Spain – ANFAH, https://www.efca.info/efca-members/spain-anfah/.
100       EFCA,      Committees,      https://www.efca.info/efca-committees; Anders       Larsson,    LinkedIn      Profile,
https://www.linkedin.com/in/anders-larsson-3278731b7/?originalSubdomain=se.
101      KUB, About Us, https://kub.org.tr/hakkimizda/.
102       EFCA, New KUB President, https://www.efca.info/2020/03/13/new-kub-president/; Stuat Seven, LinkedIn Profile,
https://www.linkedin.com/in/suat-seven-b9a7403a/?originalSubdomain=tr.
103       Osman Ilgen, LinkedIn Profile, https://www.linkedin.com/in/osmanilgen1972/?originalSubdomain=tr; EFCA, Structure,
https://www.efca.info/about-us/efca-structure/.



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Group Technical Services Manager, is Chairman of the CAA Technical Committee, which

“[s]upports work on UK and European Standards, Codes, and Certification [and] [p]romotes

improvements in technical information, quality control, and level of technical support provided by

CAA members.”104 Ian Ellis is also a member of the EFCA Technical Committee.105

         E.       The Prices for Defendants’ CCAs Have Climbed Exponentially During the
                  Class Period and Several Defendants Have Signaled Price Increases Publicly

                  1.        Defendants Have Exponentially Increased Their Prices on CCAs During
                            the Class Period, Including by Imposing Surcharges

         100.     Publicly available financial reports and statements suggest that Defendants have

consistently raised their prices for CCAs, including through surcharges, during the Class Period.

         101.     For example, during an earnings call in April of 2022, RPM VP, Controller, and

CAO Michael Laroche pointed to Euclid Group’s concrete admixtures as one of the company’s

“fastest-growing businesses” and cited “selling price increases” as a key growth factor.106 One year

later, in an earnings release published in April of 2023, RPM noted that “record” sales in its

construction segment were “driven by price increases and strength in concrete admixtures.”107

         102.     An investor report published by Saint-Gobain Group in February of 2021 cited

“[u]pward trends in sales prices” as a key driver of the company’s sales growth in 2020.108 The

same report published one year later similarly noted an “acceleration in prices in all segments” in




104       Cement Admixtures Association, CAA Structure, https://www.admixtures.org.uk/about-us/caa-structure/; Chris
Fletcher, LinkedIn Profile, https://www.linkedin.com/in/chris-fletcher-84685137/?originalSubdomain=uk; Ian Ellis, LinkedIn
Profile, https://www.linkedin.com/in/ian-ellis-72a94115/?originalSubdomain=uk.
105      EFCA, Committees, https://www.efca.info/efca-committees/.
106      RPM, Q3 2022 Earnings Call Transcript (Apr. 6, 2022), https://www.rpminc.com/media/3483/rpm-usq_transcript_2022-
04-06.pdf.
107      RPM, RPM Reports Record Fiscal 2023 Third-Quarter Results (Apr. 6, 2023), https://www.rpminc.com/media/4672/q3-
23-rpm-earnings-release-final.pdf.
108      Saint-Gobain, FY 2020 Results        and   Outlook   (Feb.   26, 2021),   https://www.saint-gobain.com/sites/saint-
gobain.com/files/fy-2020-ang-a_0.pdf.




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2021.109 The report emphasized that Saint-Gobain Group had exhibited “strong pricing power and

decisive execution” in raising its prices by as much as 10% to match the industry trend.110 A press

release published by Saint-Gobain Group in October of 2021 included a chart showing an average

price increase of 9.7% across all of its segments over the previous two years.111 In the Americas,

Saint-Gobain’s prices increased by 18.6% from October of 2019 to October of 2021.112

          103.      Defendants have also signaled CCA price increases publicly during the Class

Period. Examples are set forth below.

          104.      In February of 2019, Sika CEO Paul Schuler announced that Sika would raise its

prices for the second time that year: “We are going to increase prices further. We have increased

prices in January and we will do it again in March.”113

          105.      On November 13, 2020, Master Builders Group announced that it would raise its

CCA prices up to 10%, effective immediately.114

          106.      On July 20, 2021, Masters Builders Group announced that it would be increasing

previously-imposed surcharges on its products, including on CCAs, from six percent (6%) to nine

percent (9%).115

          107.      On November 29, 2021, GCP announced that it would raise its CCA prices up to


109      Saint-Gobain, FY 2021 Results and Outlook                (Feb.   25, 2022), https://www.saint-gobain.com/sites/saint-
gobain.com/files/media/document/FY2021_ENG.pdf.
110       Id.
111      Saint-Gobain,      Press   Release   (Oct.               28,       2021),      https://www.saint-gobain.com/sites/saint-
gobain.com/files/media/document/CP_CA_9M_2021_VA.pdf.
112       Id.
113       Reuters, Sika Raises Prices to Counter Jump in Raw Material Costs (Feb. 22, 2019), https://www.reuters.com/article/sika-
results-materials/sika-raises-prices-to-counter-jump-in-raw-material-costs-idUSZ8N1UN01Y/.
114      Sika, Master Builders Solutions to Increase Prices for Construction Chemicals (Nov. 13, 2020), https://mbcc.sika.com/en-
vn/about-us/news/price-increase-announcement.
115       Letter from Konrad Wernthaler, Senior Vice President at Master Builders Group, to Customers (July 20, 2021),
https://www.negwer.com/Portals/0/Documents/Vendor%20News/2021%20Price%20Increases/2021_07_20_Master%20Builders
%20Solutions%20Surcharge%20Letter_EN.pdf?ver=2021-07-21-080522-810.




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10% for North American customers, effective in January of 2022.116

         108.     On January 14, 2022, Master Builders Group announced that it would be increasing

previously-imposed surcharges on its products, including on CCAs, to be as high as forty percent

(40%).117

         109.     Also in January of 2022, Sika announced it, too, would be increasing its previously-

imposed surcharges on its products, including CCAs, from sixteen percent (16%) to twenty percent

(20%).118

         110.     These announcements were publicly disseminated and received substantial news

coverage.

         111.     Indeed, in an article published in August of 2020, an industry consultant noted that

despite declining sales in the construction industry, the United States had seen an increase of eleven

percent (11%) in the construction-cost-index (CCI), including a four percent (4%) increase in

prices for products made of concrete.119 He explained that “[t]he fall in prices feared in many

branches, like automotive or plant engineering, is not noticeable in the construction sector.”120 The

consultant went on to suggest that players in construction-related industries should continue to

raise their prices.121




116        Concrete Products, Raw Material, Freight Costs Drive GCP Admixture Price Increase (Nov. 29, 2021),
https://concreteproducts.com/index.php/2021/11/29/raw-material-freight-costs-drive-gcp-admixture-price-
increase/#:~:text=GCP%20Applied%20Technologies%20will%20raise,American%20customers%2C%20effective%20January%
202022.
117       Letter from Konrad Wernthaler, Senior Vice President at Master Builders Group, to Customers (Jan. 14, 2022),
https://www.glenrockcompany.com/wp-content/uploads/2022/01/LtrForWebsite-Jasn27_2022.pdf.
118       Letter from Michal Mastro, Vice President at Sika, to Customers (Jan. 2022), https://www.glenrockcompany.com/wp-
content/uploads/2022/01/LtrForWebsite-Jasn27_2022.pdf.
119       ZKG           Cement,         Smart           Pricing        Strategies        in         the         Pandemic,
https://www.zkg.de/en/artikel/zkg_Smart_pricing_strategies_in_the_pandemic-3562339.html.
120      Id.
121      Id.




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       112.   The average price of CCAs imported into the United States also climbed

exponentially during the Class Period. As shown in Figure 9, below, the prices of imported CCAs

remained generally steady between 2010 and 2019 before rising sharply in 2020:

                        Figure 9: Import Prices of CCAs ($/kg)




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       113.   Prices for CCAs imported in the United States and its territories closely track the

prices for CCAs exported from European countries. This is shown in Figure 10:

      Figure 10: European Export Prices of CCAs Versus US Import Prices




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       114.    Similarly, prices for CCAs imported into the United States and its territories closely

track prices for CCAs imported into European countries. This is shown in Figure 11:

      Figure 11: European Import Prices of CCAs Versus US Import Prices




       115.    In sum, and as shown above, Defendants’ price increases and surcharges have

resulted in the prices for CCAs sold in the United States and its territories to increase dramatically

during the Class Period. Specifically, prices for CCAs sold in the United States and its territories

have roughly doubling during the Class Period.

               2.      Normal Market Forces Do Not Explain Defendants’ Price Increases or
                       Surcharges

       116.    Defendants have justified their price increases during the Class Period by citing

increases in input costs and supply chain constrains. For example, when Master Builders Group



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raised prices for its CCAs by as much as 10% in November of 2020, the company blamed “supply

constraints in key raw materials” and “an increase in raw material cost and several other related

costs including freight.” In explaining GCP’s decision to raise its CCA prices by 10% in January

of 2022, GCP Specialty Construction Chemicals President David Campos stated, “The global

supply chain impacts on raw material and freight costs have been unprecedented over the past six

months and input costs are not expected to subside in the near-term.”122 RPM’s Laroche similarly

justified price increases as necessary “to offset significant raw material inflationary pressure.”123

        117.    However, Defendants’ material price increases for and imposition of surcharges on

CCAs cannot be explained by normal market forces.




122        Concrete Products, Raw Material, Freight Costs Drive GCP Admixture Price Increase (Nov. 29, 2021),
https://concreteproducts.com/index.php/2021/11/29/raw-material-freight-costs-drive-gcp-admixture-price-
increase/#:~:text=GCP%20Applied%20Technologies%20will%20raise,American%20customers%2C%20effective%20January%
202022.
123      RPM, Q4 2022 Earnings       Call   Transcript   (July   25,   2022),   https://www.rpminc.com/media/3784/rpm-
usq_transcript_2022-07-25.pdf.




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       118.    As shown in Figure 12 the prices for some raw materials for CCAs spiked briefly

during Covid, but have since fallen dramatically:

  Figure 12: Prices for Aluminum Compounds (Accelerator), Fatty Acids (Air
         Entrainer), & Synthetic Organic Plasticizers (Water Reducer)




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         119.     Indeed, as shown in Figure 13, the prices for other raw materials for CCAs have

decreased during the Class Period:124

                  Figure 13: Price for Sodium Lignosulfonate (Plasticizer)




124       ChemAnalyst, Sodium Lignosulphonate Price Trend and Forecast, https://www.chemanalyst.com/Pricing-data/sodium-
lignosulphonate-1140.




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        120.     Similarly, ocean freight rates spiked sharply and briefly during Covid, particularly

for trans-Atlantic cargo, but have since fallen dramatically. This is shown in Figure 14:125

                          Figure 14: Ocean Container Freight Rates




        121.     As the above figures show, raw materials cost increases alone do not explain

Defendants’ astronomical CCA price increases, including surcharges, during the Class Period. The

timing and duration of the raw materials cost increases do not fully align with the CCA price

increases. Moreover, while some CCA raw materials saw higher prices, others were flat or

declined. Similarly, the increase in freight costs during Covid was short-lived, stabilizing after a

few months before beginning to decrease. The duration of shipping cost increases does not explain

the persistent increase in CCA prices, including surcharges, since 2019.




125       Freight Waves, Trans-Atlantic shipping rates keep sinking as imports from Europe fall (Apr. 28, 2023),
https://www.freightwaves.com/news/trans-atlantic-shipping-rates-keep-sinking-as-imports-from-europe-fall.




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                   3.        Defendants Have Admitted Normal Market Forces Do Not Explain Their
                             Price Increases or Surcharges

         122.      Defendants have admitted that their higher profit margins were driven by price

increases that outpaced any increases in input costs.

         123.      For example, during Saint-Gobain Group’s earnings call in July of 2019, CFO

Sreedhar N. noted that Saint-Gobain Group had “remained focused on price in spite of … the fact

that there was a lower trend in the inflation.”126 He explained that keeping prices high had helped

the company “not only to offset the inflation,” but also to maintain a “positive spread” and,

therefore, increased profits.127 Over the next two years, Saint-Gobain Group continued to raise its

prices and increase its profits. A press release from October of 2021 explained that Saint-Gobain

Group was “confident that it w[ould] be able to offset raw material and energy cost inflation over

full-year 2021” given “the sharp 8.7% acceleration in prices” over the previous year, as well as

“the new price increase announcements in Europe and in the [United States].”128

         124.      Similarly, Sika CFO Adrian Widmer admitted during an earnings call in February

of 2020 that the impact of increases in raw material costs was “only . . . marginal,” and that Sika

had continued to improve its material margin by remaining “very much . . . focused on pricing.”129

During another earnings call one year later, Widmer explained that Sika’s material margin of

54.8% in 2020 was “supported by decreasing raw material costs . . . in combination with




126        Compagnie     de      Saint-Gobain, First-Half     2019    Earnings     Call    Transcript   (Jul.     26,    2019),
https://seekingalpha.com/article/4278326-compagnie-de-saint-gobains-codgf-ceo-pierre-andre-de-chalendar-on-first-half-2019-
results.
127      Id.
128      Saint-Gobain,      Press   Release   (Oct.              28,      2021),      https://www.saint-gobain.com/sites/saint-
gobain.com/files/media/document/CP_CA_9M_2021_VA.pdf.
129      Sika AG, Full Year 2019 Earnings Call Transcript (Feb. 21, 2020), https://seekingalpha.com/article/4326363-sika-ag-
sxyay-ceo-paul-schuler-on-full-year-2019-results-earnings-call-transcript.



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disciplined pricing,” which allowed it to “add[] 50 basis points in price effect.”130

         125.      RPM’s Sullivan bragged about his company’s ability to maintain its high pricing

when asked whether Euclid Group intended to cut its prices due to recent, slumping demand: “In

the past cycles, we’ve been able to maintain the vast majority of the price increases that we’ve

initiated, and we would expect to do exactly the same thing here. If you look at our performance

in past commodity cycles on the down cycle, we should pick up $100 million to $200 million of

margin benefit and we’re working hard to do that, and we intend to do it.”131

         126.      Several Defendants have cited their “pricing discipline” in explaining profit margin

increases to investors.

         127.      For example, Sika CEO Thomas Hasler explained that the “remarkable” increase

in Sika’s material margin in the first half of 2023 was “a result of our pricing discipline and

excellence.”132 This was echoed in Sika’s 2023 Half-Year Report, which reported “disciplined

sales price management,” coupled with lower costs, as improving its gross margin.133

         128.      Similarly, in an October of 2021 press release, Saint-Gobain Group cited a

“[c]onstant focus on the price-cost spread” and “strong pricing discipline amid strong inflation”

as its “strategic priorities” for 2021.134

         129.      And in July of 2023, when an analyst asked RPM’s Sullivan what had driven the



130       Sika AG, Q4 2020 Earnings Call Transcript (Feb. 20, 2021), https://seekingalpha.com/article/4407686-sika-ag-sxyay-
ceo-paul-schuler-on-q4-2020-results-earnings-call-transcript (emphasis added).
131      RPM, Q2 2023 Earnings Call Transcript (Jan. 5, 2023), https://www.rpminc.com/media/4564/rpm-usq_transcript_2023-
01-05.pdf.
132      Sika AG, Q2 2023 Earnings Call Transcript (Aug. 4, 2023), https://seekingalpha.com/article/4624149-sika-ag-sxyay-q2-
2023-earnings-call-transcript.
133       Sika, Half-Year Report (2023), 19 https://www.sika.com/content/dam/dms/corporate/media/glo-hy-2023-half-year-
report.pdf?_gl=1*1smz2e5*_ga*MjA0NzgwMDU4NC4xNjk3ODI0MDYx*_ga_K04G1QB2XC*MTcwMDIzNDU0NC40LjEu
MTcwMDIzNDU2OS4wLjAuMA (emphasis added).
134      Saint-Gobain,      Press    Release   (Oct.    28,      2021),              https://www.saint-gobain.com/sites/saint-
gobain.com/files/media/document/CP_CA_9M_2021_VA.pdf (emphasis added).




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“significant increase” in profit margin for RPM’s construction segment in the prior quarter,

Sullivan boasted about Euclid Group’s pricing discipline: “[W]e had a few distributors that were

hinting at … we can boost some product if you discount. And I think we held our pricing and held

our discipline. And let’s say everybody held their breath until they needed inventory, and it started

showing up in May. And that positive trend is continuing as we enter the first quarter.”135

          F.        Defendants Have Consolidated Their Control Over CCAs

          130.      Beginning at least as early as 2014, Compagnie de Saint-Gobain S.A. launched a

hostile takeover of Sika AG.136 Between 2014 and 2018, Compagnie de Saint-Gobain S.A.

acquired almost 25% of Sika AG’s stock and was the single largest shareholder.137 However, on

May 11, 2018, Compagnie de Saint-Gobain S.A. abandoned its takeover attempt, and agreed to

reduce its stake to more than ten percent, which it agreed to hold for at least two years.138 Before

selling its Sika AG stock in 2020, Compagnie de Saint-Gobain S.A. was the largest shareholder in

Sika AG.139

          131.      As this merger began to falter, Compagnie de Saint-Gobain S.A. and Sika AG,

through their shared ownership and financial interests, began a coordinated campaign of buying


135      RPM Q4 2023 Earnings Call Transcript (Jul. 26, 2023), https://www.rpminc.com/media/4837/rpm-q4-23-transcript.pdf
(emphasis added).
136    Saint-Gobain Remains Committed to Deal to Take over Sika, https://www.reuters.com/article/us-sika-cie-saint-gobain-
idUSKBN1300II (last updated Nov. 5, 2016).
137       Market     Watch,    Saint-Gobain,     Sika    and    Burkard Family End             Dispute     (May    11, 2018),
https://www.marketwatch.com/story/saint-gobain-sika-and-burkard-family-end-dispute-2018-05-11; VY Tyndall Global Select
Fund Commentary, 5 (Oct. 2019), https://www.tyndallim.co.uk/wp-content/uploads/2019/11/1910-VT-Tyndall-Global-Select-
Fund-Commentary.pdf;       Saint-Gobain      Sells    Sika     Stake,     Formally     Ending     Bitter     Takeover      Battle,
https://www.reuters.com/article/us-sika-m-a-saintgobain/saint-gobain-sells-sika-stake-formally-ending-bitter-takeover-battle-
idUSKBN2331J1 (last updated May 27, 2020).
138       Market      Watch,   Saint-Gobain,    Sika and     Burkard     Family    End      Dispute    (May     11,   2018),
https://www.marketwatch.com/story/saint-gobain-sika-and-burkard-family-end-dispute-2018-05-11; Saint-Gobain’s U.S. Deal
will Cement its Sika Envy, https://www.reuters.com/breakingviews/saint-gobains-us-deal-will-cement-its-sika-envy-2021-12-06/
(last updated Dec. 6, 2021).
139       VY Tyndall         Global Select Fund Commentary, 5 (Oct.               2019), https://www.tyndallim.co.uk/wp-
content/uploads/2019/11/1910-VT-Tyndall-Global-Select-Fund-Commentary.pdf; Saint-Gobain Sells Sika Stake, Formally
Ending Bitter Takeover Battle, https://www.reuters.com/article/us-sika-m-a-saintgobain/saint-gobain-sells-sika-stake-formally-
ending-bitter-takeover-battle-idUSKBN2331J1 (last updated May 27, 2020).




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up their smaller competitors. At all times, these efforts were aided and abetted by Cinven, a private

equity firm with substantial investments in the CCA space. Euclid Group joined in its co-

conspirators’ consolidation efforts no later than April of 2022.

          132.     With regard to Compagnie de Saint-Gobain S.A. and beginning in March of 2017,

Cinven acquired Chryso.140 In the months that followed, Chryso, under the ownership and control

of Cinven, acquired at least four competing CCA manufacturers,141 including Italy’s Ruredil in

June of 2018,142 Portugal’s Euromodal in October of 2018,143 Ireland’s Chemtec in October of

2018,144 and Morocco’s Aptex in October of 2020.145 Compagnie de Saint-Gobain S.A. acquired

Chryso from Cinven in September of 2021, and then, just three months later, in December of 2021,

acquired GCP.146

          133.     Compagnie de Saint-Gobain S.A. subsequently consolidated its management of

these earlier-competitors under the control of a newly-created “Construction Chemicals Business

Unit” and appointed the incumbent Chryso President, Steve Williams, as the President of this

unit,147 and incumbent Chryso CEO, Thierry Bernard (who was previously employed by Cinven),

140       CHRYSO,       Completion   of     the    Acquisition      of    Chryso    by           Cinven      (July     8,    2017),
https://www.chrysogulf.com/news/83/completion-of-the-acquisition-of-chryso-by-cinven.
141       Cinven, Cinven to Sell Chryso to Saint Gobain (May 20, 2021), https://www.cinven.com/media/news/cinven-to-sell-
chryso-to-saint-gobain.
142       Cinven, Chryso to Acquire Certain Ruredil assets and Enlarges its Offering for Construction Materials in Italy (June 28,
2018), https://www.cinven.com/media/news/chryso-to-acquire-certain-ruredil-assets-and-enlarges-its-offering-for-construction-
materials-in-italy/.
143        Cinven, Chryso Acquires Euromodal and Enlarges its Offering for Construction Materials in Portugal (Oct. 19, 2018),
https://www.cinven.com/media/news/chryso-acquires-euromodal-and-enlarges-its-offering-for-construction-materials-in-
portugal/.
144        CHRYSO,      Chryso     Acquires     Chemtec    Admixtures       Limited         in    Ireland      (Oct.   3,    2018),
https://uk.chryso.com/news/195/chryso-acquires-chemtec-admixtures-limited-in-ireland.
145       CHRYSO,     Chryso    Strengthens    its    Presence   in    Morocco      with         Aptex      (Oct.      15,   2020),
https://www.chryso.com/news/chryso-strengthens-its-presence-in-morocco-with-aptex/.
146        Chemical & Engineering News, Saint-Gobain to Buy Construction Chemical Maker GCP for $2.3 Billion (Dec. 7, 2021),
https://cen.acs.org/business/specialty-chemicals/Saint-Gobain-buy-construction-chemical/99/web/2021/12.
147       Business Wire, Steve Williams Appointed President of the Newly Created Construction Chemicals Business Unit for
North America (Oct. 17, 2022), https://www.businesswire.com/news/home/20221012005926/en/Steve-Williams-Appointed-
President-of-the-Newly-Created-Construction-Chemicals-Business-Unit-for-North-America.




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as the General Manager of this unit.148 Compagnie de Saint-Gobain S.A. has combined Chryso and

GCP’s manufacturing and sale of CCAs, such that these former competitors now operate as a

single, combined unit.149

         134.      With regard to Sika AG and beginning in late 2018, Sika AG expressed an interest

in acquiring Master Builders Group, which at the time, was owned by BASF.150 But after acquiring

another major competitor in the CCA space—France’s Parex— in January of 2019,151 Sika AG

initially abandoned its interest in Master Builders Group because, according to its CEO, it did “not

believe a deal for all the company would be possible because of anti-trust concerns by

regulators.”152 BASF eventually sold Master Builders Group to another hedge fund (Lone Star) for

€3.17 billion, the sale of which closed in the third quarter of 2020.153

         135.      Then, just one year later, in November of 2021, Sika AG announced that it would

be acquiring Master Builders Group for $5.9 billion – nearly double what Lone Star had paid for

it.154 However, due to “competition concerns” raised by the UK’s CMA, Cinven (which, as noted

above, had just sold Chryso to Compagnie de Saint-Gobain S.A.) acquired MBSD’s United States



148      CHRYSO, New Business Unit Within Saint-Gobain High Performance Solutions: Constructions Chemicals (Oct. 3,
2022),        https://www.chryso.com/news/new-business-unit-within-saint-gobain-high-performance-solutions-construction-
chemicals/.
149        Concrete Products, Saint-Gobain Institutes Integrated Chryso, GCP Production Strategy (July                3, 2023),
https://concreteproducts.com/index.php/2023/07/03/saint-gobain-institutes-integrated-chryso-gcp-production-strategy/; Concrete
Products, Saint-Gobain Proceeds with Integrated Chryso, GCP Production (Aug. 14, 2023).
150       Sika Interested in Parts of BASF’s Construction Chemical Business, https://www.reuters.com/article/us-sika-ceo-
basf/sika-interested-in-parts-of-basfs-construction-chemicals-business-idUSKCN1QB1CP (last updated Feb. 22, 2019).
151      CVC, Sika Makes Binding Offer to Acquire Parex (Jan. 8, 2019), https://www.cvc.com/media/news/2019/2019-01-08-
sika-makes-binding-offer-to-acquire-parex/.
152       BRIEF-Sika     CEO       Rules     out     Deal     for   Whole       BASF      Construction     Chemical       Business,
https://www.reuters.com/article/brief-sika-ceo-rules-out-deal-for-whole/brief-sika-ceo-rules-out-deal-for-whole-basf-
construction-chemical-business-idUKZ8N1UN017 (last updated Jan. 8, 2019).
153       Concrete   Construction,     Lone    Star    Funds     to   Acquire Master         Builders    (Dec.   27, 2019),
https://www.concreteconstruction.net/products/concrete-construction-materials/lone-star-funds-to-acquire-master-
builders_c#:~:text=BASF%20has%20finally%20found%20a,of%20BASF's%20Construction%20Chemicals%20business.
154       Chemical Engineering, Sika to Acquire MBCC Group for €5.2                              billion   (Nov.    11,     2021),
https://www.chemengonline.com/sika-to-acquire-mbcc-group-for-e5-2-billion/?printmode=1.




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assets, including MBSA, in early 2023.155 Specifically, MBSD’s assets were split into two parts:

the first, which encompassed MBSD’s assets in the UK, United States, Canada, Europe, Australia,

and New Zealand, was sold to Cinven; and the second, which encompassed MBSD’s assets in the

rest of the World, was sold to Sika AG. While this arrangement appeared to appease antitrust

regulators around the World, it was soon revealed that it yielded anticompetitive effects. Sika has

admitted that it views Cinven as its partner, not its competitor. Remarking on the spin-off, Sika’s

CEO, Thomas Hasler, remarked, “Cinven with its extensive expertise in this sector is an ideal

partner for continuing the successful growth path of this business. . . .”156 Hasler also bragged

about Sika’s dominance in the concrete admixture industry following the deal with MBSD, stating

that its “product offering in the segment of concrete admixture is super strong and almost []

unchallengeable by others because we now have really the full innovation pipeline for the future

ready and also very strong backup with the supply chain that is coming together.”157

         136.      With regard to Euclid Group, in November of 2021, RPM acquired J.W. Brett Inc.

d/b/a Brett Admixtures, and in April of 2022,158 RPM acquired Chryso’s North American cement

grinding aids and additives business from Saint-Gobain Group.159




155       Adhesives & Sealants Industry, Sika to Sell MBCC Group’s Chemical Admixture Assets to Cinven (Mar. 27, 2023),
https://www.adhesivesmag.com/articles/100079-sika-to-sell-mbcc-groups-chemical-admixture-assets-to-cinven.
156      Saint-Gobain’s U.S. Deal will Cement its Sika Envy, https://www.reuters.com/breakingviews/saint-gobains-us-deal-
will-cement-its-sika-envy-2021-12-06/ (last updated Dec. 6, 2021) (emphasis added).
157
         Sika AG, Q2 2023 Earnings Call Transcript (Aug. 4, 2023), https://seekingalpha.com/article/4624149-sika-ag-sxyay-q2-
2023-earnings-call-transcript.
158      RPM International, Proxy Statement (Aug. 24, 2022), https://www.rpminc.com/media/3815/proxy-statement.pdf.
159      Id.




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       137.    Figure 15 shows the timing of Defendants’ acquisitions:

                Figure 15: Timeline of Defendants’ CCA Acquisitions




       138.    Sika AG, Compagnie de Saint-Gobain S.A., and RPM’s expensive acquisitions of

their competitors at a time when raw material costs for CCAs were allegedly skyrocketing makes

little economic sense absent a conspiracy to artificially inflate the price of CCAs, such as that

alleged here. Indeed, the huge sums paid for these competitors is all the more surprising in light of

the trouble that BASF had in unloading Master Builders Group a short time prior.

       G.      The Structure and Characteristics of the Market for CCAs Support the
               Existence of a Conspiracy

       139.    The structure and other characteristics of the market for CCAs make it conducive

to anticompetitive conduct among Defendants and make collusion particularly attractive.

               1.      The Supply Side of the CCA Market Is Highly Concentrated, and the
                       Defendants Are the Dominant Firms

       140.    The presence of a small group of major sellers is one of the conditions that the DOJ




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has identified as being favorable to collusion.160 Put differently, a highly concentrated market is

more susceptible to collusion and other anticompetitive practices than less concentrated markets.

         141.      As the DOJ has noted, “mergers can reduce choices for consumers, workers, and

other businesses, leaving them increasingly dependent on larger and more powerful firms that

have purchased greater power to dictate the terms of their deals.”161 Indeed, the DOJ updated its

Merger Guidelines in 2023 to better address the economic consequences of anticompetitive

mergers because, as Attorney General Merrick Garland noted, “unchecked consolidation threatens

the free and fair markets upon which our economy is based.”162

         142.      The Defendants that were targeted in dawn raids by European antitrust regulators,

Defendants Sika, Saint-Gobain Group, and Master Builders Group, are among the largest

producers of CCAs in the World, as well as in the United States and its territories.163

         143.      Other manufacturers of CCAs do not meaningfully compete with                              Defendants.

Several of these other, smaller manufacturers of CCAs told the CMA that even if they wanted to

compete with the Defendants, they would not be able to do so effectively because of challenges in

scaling up their operations, as well as the reluctance of CCA purchasers to switch from their

existing CCA manufacturer(s).164



160       Justice.gov, Price Fixing, Bid Rigging, and Market Allocation Schemes: What They Are and What to Look For,
https://www.justice.gov/d9/pages/attachments/2016/01/05/211578.pdf.
161        Press Release, Office of Public Affairs, U.S. Department of Justice, Justice Department and Federal Trade Commission
Seek to Strengthen Enforcement Against Illegal Mergers (Jan. 18, 2022), https://www.justice.gov/opa/pr/justice-department-and-
federal-trade-commission-seek-strengthen-enforcement-against-illegal (emphasis added).
162       Press Release, Office of Public Affairs, U.S. Department of Justice, Justice Department and FTC Seek Comment on Draft
Merger Guidelines (July 19, 2023), https://www.justice.gov/opa/pr/justice-department-and-ftc-seek-comment-draft-merger-
guidelines.
163       Industry       ARC,        Concrete        Admixtures      Market      –        Forecast      2023–2028,
https://www.industryarc.com/Report/15114/concrete-admixtures-
market.html#:~:text=Major%20players%20in%20the%20Concrete,ve%20Tic.&file=/fileadmin/symrise/Downloads_reports/repo
rts/documents/2023/230308-Symrise-Financial-Report-2022.pdf#page=14.
164       Id. at ¶¶ 107. 113, 118; CMA, Decision on Relevant Merger Situation and Substantial Lessening of Competition, ¶¶ 112,
116, 123 (Sept. 22, 2022).




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         144.       In fact, at least some of the Defendants’ internal documents indicate that they

consider the other Defendants to be their only close competitors.165

         145.       Because the manufacture of CCAs is highly concentrated, with the Defendants

controlling the vast majority of production, this market is highly susceptible to collusion.

                    2.     Barriers to Entry Are High

         146.       A collusive arrangement that raises product prices above competitive levels would,

under basic economic principles, attract new entrants seeking to benefit from the supra-competitive

pricing. When, however, there are significant barriers to entry, new entrants are much less likely

to enter the market.

         147.       There are high barriers to entry to effectively compete in the manufacture of CCAs,

including the following: (a) the time and cost associated with effectively scaling CCAs

manufacturing operations (i.e., building new production and storage facilities in closer proximity

to CCA purchasers); (b) the research and development investment required to develop new

products (i.e., polymers), and then support their introduction into the market; (c) sellers of the raw

materials necessary to manufacture CCAs (i.e., polymers) favor the larger, entrenched

manufacturers of CCAs; and (d) the long-standing, existing relationships between CCA

manufacturers and customers.166

         148.       These high barriers to entry are amplified by the difficulty purchasers of CCAs have

in switching manufacturers once selected. This is because smaller suppliers of CCAs cannot

quickly build up their scale and capacity for potentially-switching customers,167 and because



165      CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 89, 96, 101 (Sept. 23, 2022); CMA, Decision on
Relevant Merger Situation and Substantial Lessening of Competition, ¶¶ 91, 101, 106 (Sept. 22, 2022).
166      Id. at ¶ 128.
167      Id. at ¶ 50.




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supply contracts typically have a term of one to three years.168 Purchasers of CCAs thus face

switching costs and are frequently locked-in to purchasing CCAs from the Defendants in this case

– the three largest manufacturers and sellers of CCAs in the World, including in the United States

and its territories.169

         149.      The CMA, in determining that the acquisition by Sika AG of MBSD would be

anticompetitive, noted as follows: “There are significant barriers to entry and expansion and,

although a number of suppliers have expansion plans, these will not have a significant enough

effect on the structure of the market to prevent an SLC [“Substantial Lessening of Competition”]

even if these plans materialise.”170

         150.      The high barriers to entry in the manufacture of CCAs make it unlikely that supra-

competitive prices would result in new competitors entering the market. These high barriers to

entry also make the market more susceptible to collusion.

                   3.        The Demand Side of the CCA Market Is Unconcentrated

         151.      The unconcentrated nature of the demand side of the CCA market also makes this

market susceptible to collusion.

         152.      In 2021, there were nearly 9,000 concrete and cement product manufacturing

establishments in the United States and its territories.171

         153.      Such a large number of buyers, each of whom forms a small share of the total

marketplace, means that there is less incentive for Defendants to cheat on collusive pricing



168      CMA, Initial Report, ¶6.50 (Oct. 25, 2022).
169      CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 50 (Sept. 23, 2022).
170        CMA, Anticipated Acquisition by Sika AG of MBCC, Group Decision to Refer (Aug.                    10, 2022),
https://assets.publishing.service.gov.uk/media/63469a408fa8f53465d139b4/Decision_to_refer_full_text Sika-MBCC_.pdf.
171      Census.Gov,       2021      County     Business    Patterns   (CBP)     Data,     https://www.census.gov/programs-
surveys/cbp/data/tables.html (last updated May 19, 2022).



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arrangements, since each potential sale is small while the risk of disrupting the collusive pricing

agreement carries large penalties.

                    4.      Demand for CCAs Is Inelastic

         154.       Industries with inelastic demand are more susceptible to cartel behavior because of

the potential for large increases in revenue resulting from the higher cartel prices. There are three

primary characteristics that demonstrate the inelasticity of demand for CCAs: (a) a lack of

substitute goods, (b) the essential nature of CCAs in cement, concrete, and mortar, and (c) CCAs

being a small portion of the overall cost of the final good.

                            a.      There Are No Substitutes for CCAs

         155.       The DOJ has also recognized that standardized products which lack substitutes is a

condition favorable to collusion, as substitute goods can serve to restrain price increases and

temper the effects of a price-fixing conspiracy.172

         156.       Purchasers of CCAs do not view CCAs as interchangeable, nor do purchasers view

there as being substitutes for CCAs.173

         157.       In addition, and as set forth above, purchasers of CCAs face high switching costs

as between specific CCAs. This is the case for at least three reasons. First, “extensive testing is

required to ensure that any new [CCA] products are suitable for [the customer’s] particular

aggregates and requirements, with this process becoming more difficult the larger and more

complex a [CCA] customer’s operations are.”174 Second, purchasers of CCAs frequently have to

obtain their own customers’ approval before switching CCAs.175 Third, purchasers of CCAs


172       Price Fixing, Bid Rigging, and Market Allocation Schemes: What They Are and What to Look   For (justice.gov),
https://www.justice.gov/d9/pages/attachments/2016/01/05/211578.pdf.
173      Id. at ¶¶ 53-64.
174      Id. at ¶ 11.
175      Id. at ¶ 51.




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frequently must train their employees on how to use new CCAs before those CCAs can be used.176

         158.       The lack of substitute goods makes this market susceptible to collusion.

                             b.       CCAs Are a Necessity

         159.       CCAs are perceived by purchasers as providing economic, commercial, and

environmental benefits to the cement, concrete, and mortars that incorporate them. They are

therefore viewed as essential to projects involving concrete, cement, and/or mortar.177

         160.       Purchasers of CCAs are thus unable to respond to price increases by buying less.

         161.       Purchasers’ need for CCAs also makes this market more susceptible to collusion.

                             c.       CCAs Comprise a Small Share of the Cost of the Final Product

         162.       CCAs typically make up only about one percent (1%) to seven percent (7%) of the

overall cost of the finished products in which they are used.178

         163.       As a result, CCA price increases do not, in general, reduce how much product the

Defendants’ customers purchase, or the revenue that Defendants make on their sales of CCAs.

         164.       This also makes this market especially susceptible to collusion.

         H.         Defendants Fraudulently Concealed Their Conduct

         165.       Plaintiff had no knowledge of the Defendants’ anticompetitive conduct alleged

herein, or of facts sufficient to place them on notice of the claims set forth herein, until, at the

earliest, October 17, 2023, when the EC announced its investigation into the Defendants and that

it was coordinating with the TCA, CMA, and DOJ. As a result, Plaintiff did not discover, nor could

it have discovered through the exercise of reasonable diligence, the existence of the conspiracy



176      Id. at ¶ 50.
177        “Sika’s product offering is…essential to their end users…” (VY Tyndall Global Select Fund Commentary, October 2019,
p. 4); see also 2022.10.25_Sika-MBCC_CMA Initial Report at ¶ 6 .30-6.31.
178      2022.10.25_Sika-MBCC_CMA Initial Report at ¶ 6.32.




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alleged herein before that date. Prior to October 17, 2023, there was insufficient information to

suggest that the Defendants were involved in a conspiracy to fix prices for CCAs.

            166.    Therefore, the statute of limitations on the claims asserted herein was tolled by

 fraudulent concealment until at least October 17, 2023. Defendants affirmatively and wrongfully

 concealed their anticompetitive conduct since the beginning of the Class Period.

            167.    Defendants’ conspiracy was inherently self-concealing. The success of the

 conspiracy depended on the Defendants and their co-conspirators keeping the price-fixing conduct

 alleged herein secret from customers and government authorities. Plaintiff reasonably believed it

 was purchasing CCAs in a competitive industry.

            168.    Defendants and their co-conspirators also took affirmative steps to conceal the

 conspiracy and carry it out in a manner that would evade detection. For example, each Defendant

 has a “Code of Conduct” that appears to prohibit exactly the type of conduct they engaged in

 here.179

            169.    Because Defendants’ anticompetitive conduct was both self-concealing and

 affirmatively concealed, Plaintiff did not learn or discover the operative facts giving rise to its

 claims until October 17, 2023. No information, actual or constructive, was ever made available to

 Plaintiff that would have led a reasonably diligent person to investigate whether a conspiracy in

 the market for CCAs existed prior to October 17, 2023.

            170.    Moreover, because Plaintiff could not have discovered the existence of its claims

 prior to October 17, 2023, Plaintiff’s claims did not accrue until that date.




 179      Sika, Code of Conduct (May 1, 2021), https://www.sika.com/content/dam/dms/corporate/v/glo-code-of-conduct.pdf;
 Saint-Gobain Group, General Principles of Conduct and Action, https://www.saint-gobain.com/sites/saint-
 gobain.com/files/principles_en.pdf; Master Builders Group, Code of Conduct, https://assets.master-builders-solutions.com/en-
 global/master%20builders%20solutions%20group%20code%20of%20conduct.pdf; RPM, The Values & Expectations of 168 (Apr.
 2018), https://www.rpminc.com/media/2114/v_es_final_version_for_the_board_meeting_april_2018.pdf.



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V.     CLASS ACTION ALLEGATIONS

       171.    Plaintiff brings this action on behalf of itself and as a class action under Rules 23(a),

(b)(2) and (b)(3) of the Federal Rules of Civil Procedure on behalf of the following class (the

“Class”):

               All persons and entities in the United States and its territories who
               purchased CCAs directly from any of the Defendants or their
               subsidiaries or affiliates during the period beginning no later than
               May 11, 2018 until the date on which a class is certified in this case.
               Excluded from the Class are Defendants, their parent companies,
               subsidiaries, affiliates, officers, directors, employees, assigns,
               successors, agents, or co-conspirators, and the court and its staff.

       172.    Numerosity. While Plaintiff does not know the exact number of members of the

Class, Plaintiff believes the class size is so numerous that joinder is impracticable given

Defendants’ substantial nationwide presence.

       173.    Commonality. Common questions of law and fact exist as to all members of the

Class. This is particularly true given the nature of Defendants’ unlawful anticompetitive conduct,

which was generally applicable to all the members of the Class, thereby making relief with respect

to the Class as a whole appropriate. Such questions of law and fact common to the Class include,

but are not limited to:

               (a)        Whether Defendants and their co-conspirators engaged in a combination

                          and conspiracy among themselves to restrict output and fix, raise, maintain

                          or stabilize the prices of CCAs in the United States and its territories;

               (b)        The identity of the participants of the alleged conspiracy;

               (c)        The duration of the alleged conspiracy and the acts carried out by

                          Defendants and their co-conspirators in furtherance of the conspiracy;

               (d)        Whether the alleged conspiracy violated Sections 1 and 3 of the Sherman

                          Act;

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               (e)     Whether the conduct of Defendants and their co-conspirators, as alleged in

                       this Complaint, caused injury to the business or property of Plaintiff and the

                       members of the Class;

               (f)     The effect of the alleged conspiracy on the price of CCAs during the Class

                       Period;

               (g)     Whether the Defendants and their co-conspirators fraudulently concealed

                       the existence of their anticompetitive conduct from Plaintiff and the

                       members of the Class;

               (h)     The appropriate injunctive and related equitable relief for Plaintiff and the

                       Class; and

               (i)     The appropriate class-wide measure of damages.

       174.    Typicality. Plaintiff’s claims are typical of the claims of the members of the Class,

and Plaintiff and undersigned counsel will fairly and adequately protect the interests of the Class.

Plaintiff and all members of the Class are similarly affected by Defendants’ unlawful conduct in

that they paid artificially inflated prices for CCAs from Defendants and/or their co-conspirators.

       175.    Adequacy. Plaintiff’s claims arise out of the same common course of conduct

giving rise to the claims of the other members of the Class. Plaintiff’s interests are coincident with,

and not antagonistic to, those of the other members of the Class. Plaintiff is represented by

competent counsel who are experienced in the prosecution of antitrust and class action litigation.

       176.    Predominance. The questions of law and fact common to the members of the Class

predominate over any questions affecting only individual members, including legal and factual

issues relating to liability and damages.

       177.    Superiority. Class action treatment is a superior method for the fair and efficient



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adjudication of the controversy, in that, among other things, such treatment will permit a large

number of similarly situated persons to prosecute their common claims in a single forum

simultaneously, efficiently and without the unnecessary duplication of evidence, effort and

expense that numerous individual actions would engender. The benefits of proceeding through the

class mechanism, including providing injured persons or entities with a method for obtaining

redress for claims that it might not be practicable to pursue individually, substantially outweigh

any difficulties that may arise in management of this class action. Moreover, the prosecution of

separate actions by individual members of the Class would create a risk of inconsistent or varying

adjudications, establishing incompatible standards of conduct for Defendants.

VI.    INTERSTATE TRADE AND COMMERCE

       178.    Billions of dollars of transactions in CCAs are entered into each year in interstate

commerce in the United States and its territories and the payments for those transactions flowed

in interstate commerce.

       179.    Defendants’ conspiracy had a direct, substantial, and foreseeable impact on

interstate commerce in the United States and its territories.

       180.    Defendants intentionally targeted their unlawful conduct to affect commerce,

including interstate commerce within the United States and its territories, by combining,

conspiring, and/or agreeing to fix, maintain, stabilize, and/or artificially inflate prices for CCAs in

the United States.

       181.    Defendants’ unlawful conduct has a direct and adverse impact on competition in

the United States and its territories. Absent Defendants’ conspiracy to fix the prices of CCAs sold

in the United States, the prices of CCAs would have been determined by a competitive, efficient

market.




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VII.      ANTITRUST INJURY

          182.   Defendants’ antitrust conspiracy had the following effects, among others:

                 (a)    Price competition has been restrained or eliminated with respect to the

                        pricing of CCAs;

                 (b)    The prices of CCAs have been fixed, raised, maintained, or stabilized at

                        artificially inflated levels;

                 (c)    Purchasers of CCAs have been deprived of the benefits of free and open

                        competition; and

                 (d)    Purchasers of CCAs paid artificially inflated prices.

          183.   The purpose of the conspiratorial and unlawful conduct of Defendants and their co-

conspirators was to fix, raise, stabilize and/or maintain the price of CCAs.

          184.   The precise amount of the overcharge impacting the prices of CCAs paid by

Plaintiff and the Class can be measured and quantified using well-accepted models.

          185.   By reason of the alleged violations of the antitrust laws, Plaintiff and the members

of the Class have sustained injury to their businesses or property, having paid higher prices for

CCAs than they would have paid in the absence of Defendants’ illegal contract, combination, or

conspiracy and, as a result, have suffered damages in an amount presently undetermined. This is

an antitrust injury of the type that the antitrust laws were meant to punish and prevent.

VIII. CLAIM

          Count I: Violation of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3)
                               (Conspiracy in Restraint of Trade)

          186.   Plaintiff repeats and realleges the allegations set forth above as if set forth fully

herein.

          187.   From at least May 11, 2018, until the date on which any Class is certified,


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Defendants and their co-conspirators entered into and engaged in a contract, combination, or

conspiracy with regards to CCAs in unreasonable restraint of trade in violation of Sections 1 and

3 of the Sherman Act (15 U.S.C. §§ 1, 3).

        188.   The contract, combination, or conspiracy consisted of an agreement among the

Defendants and their co-conspirators to fix, raise, stabilize, or maintain at artificially high levels

the prices they charged for CCAs, including surcharges on CCAs, in the United States and its

territories.

        189.   In formulating and effectuating this conspiracy, Defendants and their co-

conspirators did those things that they combined and conspired to do, including the following:

               (a)     exchanging competitively sensitive information among themselves, with

                       the aim to fix, raise, stabilize, or maintain prices of CCAs, including

                       surcharges on CCAs, sold in the United States and its territories;

               (b)     participating in meetings and conversations among themselves during

                       which they agreed to charge prices at certain levels, and otherwise to fix,

                       raise, stabilize, or maintain prices of CCAs, including surcharges on CCAs,

                       sold in the United States and its territories; and

               (c)     participating in meetings and conversations among themselves to

                       implement, adhere, and police the agreements they reached.

        190.   Defendants and their co-conspirators engaged in the actions described above for the

purpose of carrying out their unlawful agreements to fix, raise, stabilize, or maintain prices of

CCAs, including surcharges on CCAs.

        191.   Defendants’ conspiracy had the following effects, among others:

               (a)     Price competition in the market for CCAs has been restrained, suppressed,



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                         and/or eliminated;

                  (b)    Prices for CCAs, including surcharges on CCAs, provided by Defendants

                         and their co-conspirators have been fixed, raised, stabilized, or maintained

                         at artificially high, non-competitive levels throughout the United States and

                         its territories; and

                  (c)    Plaintiff and members of the Class who purchased CCAs from Defendants

                         and their co-conspirators have been deprived of the benefits of free and open

                         competition.

        192.      Plaintiff and members of the Class have been injured and will continue to be injured

in their business and property by paying more for CCAs purchased from Defendants and their co-

conspirators than they would have paid and will pay in the absence of the conspiracy.

        193.      The alleged contract, combination, or conspiracy is a per se violation of the federal

antitrust laws.

        194.      Plaintiff and members of the Class are entitled to treble damages and an injunction

against Defendants, preventing and restraining the violations alleged herein.

IX.     PRAYER FOR RELIEF

WHEREFORE, Plaintiff and the Class respectfully request the following relief:

        A.        That the Court determine that this action may be maintained as a class action under

Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiff as

representative of the Class and the undersigned law firms as Class Counsel, and direct that

reasonable notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil

Procedure, be given to each and every member of the Class;

        B.        The Court adjudge and decree that the acts of the Defendants are illegal and



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unlawful, including the agreement, contract, combination, or conspiracy, and acts done in

furtherance thereof by Defendants and their co-conspirators be adjudged to have been a per se

violation of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3);

       C.      The Court permanently enjoin and restrain Defendants, their affiliates, successors,

transferees, assignees, and other offices, directors, agents, and employees thereof, and all other

persons acting or claiming to act on their behalf, from in any manner continuing, maintaining, or

renewing the conduct, contract, conspiracy, or combination allege herein, or from entering into

any other contract, conspiracy, or combination having a similar purpose or effect, and from

adopting or following any practice, plan, program, or device having a similar purpose or effect;

       D.      That Judgment be entered against Defendants, jointly and severally, and in favor of

Plaintiff and members of the Class for treble the amount of damages sustained by Plaintiff and the

Class as allowed by law, together with costs of the action, including reasonable attorneys’ fees,

pre- and post-judgment interest at the highest legal rate from and after the date of service of this

Complaint to the extent provided by law;

       E.      That each of the Defendants, and their respective successors, assigns, parent,

subsidiaries, affiliates, and transferees, and their officers, directors, agents, and representatives,

and all other persons acting or claiming to act on behalf of Defendants or in concert with them, be

permanently enjoined and restrained from, in any manner, directly or indirectly, continuing,

maintaining or renewing the combinations, conspiracy, agreement, understanding, or concert of

action as alleged herein; and

       F.      That the Court award Plaintiff and members of the Class such other and further

relief as the case may require and the Court may deem just and proper under the circumstances.




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X.      JURY DEMAND

        Plaintiff demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, of all issues so triable.


Dated: February 2, 2024


                                                 Respectfully submitted,

                                                 /s/ Thomas H. Burt
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